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 Exhibit 9-3
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                            '               RIGINAL                  268

 2   I   UNITED STATES DISTRICT COURT NEW YORK
         FOR THE EASTERN DISTRICT OF NEW YORK
 3   I   ------------------------------------------X
 4   I   MARTIN TANKLEFF,

 5   I                                  Plaintiff,

 6   I       -against-

 7   I   THE COUNTY OF SUFFOLK, K. JAMES McCREADY,
         NORMAN REIN, CHARLES KOSCIUK, ROBERT DOYLE ,
 8   I   JOHN McLELHONE, JOHN DOE POLICE OFFICERS
         #1-10, RICHARD ROE SUFFOLK COUNTY EMPLOYEES
 9   I   #1-10,

10   I                                  Defendants.

11   I   ------------------------------------------X
12
                                       666 Old Country Road
13                                     Garden City, New York

14
                                        December 12, 2012
15                                      11:30 a.m.

16   I       CONTINUED EXAMINATION BEFORE TRIAL of K.

17   I   JAMES MCCREADY,              one of the Defendants

18   I   herein,    taken by the Plaintiff, pursuant to

19   I   Federal Rules of Civil Procedure and Notice,

20   I   held at the above-mentioned time and place,

21   I   before Dolly Fevola, Notary Public of the

22   I   State of New York.

23

24

25



     ~------------FEVOLA   REPORTING & TRANSCRIPTION INC.   (631)   724-7576 ------------~
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     1   I                                                               2 69

     2   I   A P P E A R A N C E S

     3
             BARKET, MARION EPSTEIN & KEARON, LLP
     4   I          Attorneys for the Plaintiff
                     666 Old Country Road
     5   I          Garden City, New York 11530
             BY:    BRUCE BARKET, ESQ.
     6   I          AMY MARION, ESQ.

     7   I   NEUFELD SCHECK & BRUSTIN, LLP
                    Attorneys for the Plaintiff
     8   I          99 Hudson Street, Eighth Floor
                    New York, New York 10013
     9   I   BY:    EMMA FREUDENPERGER, ESQ.

    10
             MILLER & CHEVALIER CHARTERED
    11              Attorneys for the Plaintiff
                    655 Fifteenth Street, NW, Suite 900
    12              Washington D.C. 20005
             BY:    BARRY J. POLLACK, ESQ.
)   13

    14   I   SUFFOLK COUNTY DEPARTMENT OF LAW
                    Attorneys for the Defendants
    15              H. Lee Dennison Building
                    Hauppauge, New York
    16       BY:    RICHARD T. DUNNE, ESQ.

    17
             ALSO PRESENT:
    18
             KATHY PASCHAL, Videographer
    19
             MARTIN TANKLEFF,       Plaintiff
    20
             ROBERT DOYLE
    21
             NORMAN REIN
    22

    23

    24

)   25



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     1                                                                    270

     2                              STIPULATIONS

     3           IT IS HEREBY STIPULATED AND AGREED,                by

     4       and among counsel for the respective parties

     5       hereto,    that the filing,           sealing and

     6       certification of the within deposition shall

     7       be and the same are hereby waived;

     8           IT IS FURTHER STIPULATED AND AGREED that

     9       all objections,        except as to form of the

    10       question,    shall be reserved to the time of

    11       the trial;

    12           IT IS FURTHER STIPULATED AND AGREED that

    13       the within deposition may be signed before
)
    14       any Notary Public with the same force and

    15       effect as if signed and sworn to before the

    16       Court.

    17                       *         *       *
    18

    19

    20

    21

    22

    23

    24

    25



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     1                                                                   271
)
     2                         THE VIDEOGRAPHER:       This is Disk

     3                 6 of the continuation of the

     4                 deposition of K.      James McCready in

     5                 the matter of Martin Tankleff versus

     6                 the County of Suffolk and the United

     7                 States District Court for the

     8                 Eastern District of New York.

     9                         This deposition is being held

    10                 at Barket, Marion,       Epstein and

    11                 Kearon at 666 Old Country Road,

    12                 Garden City,     New York on December

    13                 the 12,   2012 at approximately 11:33

    14                 a.m.

    15                         My name is Kathy Paschal,           the

    16                 videographer from Pro Video

    17                 Productions located in Nesconset,

    18                 New York,    and I   attest to record

    19                 these proceedings fairly and

    20                 accurately.

    21                         The court reporter today is

    22                 Dolly Fevola,     an associate with

    23                 Fevola Reporting & Transcription

    24                 Inc.,   located in Smithtown, New

)   25                 York.



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 1                                                                    272

 2                         Will counsel please introduce

 3                 yourselves and state the parties you

 4                 represent.

 5                         MR.   BARKET:     I'm Bruce Barket

 6                 for Martin Tankleff.

 7                         MR.   POLLACK:     Barry Pollack on

 8                 behalf of Martin Tankleff.

 9                         MS.   FREUDENPERGER:      Emma

10                 Freudenperger for Martin Tankleff.

11                         MR.   DUNNE:     Richard T.      Dunne on

12                 behalf of the County of Suffolk and

13                 the individually named detectives.

14                         THE VIDEOGRAPHER:       Will the

15                 court reporter please swear in the

16                 witness.

17                         MR.   BARKET:     This is a

18                 continuation.

19                         THE VIDEOGRAPHER:       Yes,

20                 alright.       He's already sworn in.

21                 Please proceed.

22       CONTINUED EXAMINATION BY

23       MR.   BARKET:

24                         MR.   BARKET:     Thank you.       Good

25                 morning,      Mr. McCready.



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     1                                    K.   J.   McCready             273

     2                         THE WITNESS:         Morning.

     3                 Q       I want to ask some questions,

     4       if I can, about kind of the details of the

     5       interrogation.

     6                         Is there a difference in your

     7       mind between an interview and an

     8       interrogation or are they different?

     9                 A       Well, usually an interview

    10       rolls into an interrogation depending on

    11       what happens.

    12                 Q       So at some point in time, was

    13       Martin Tankleff being interrogated by you
)
    14       and Detective Rein?

    15                 A       Yes.

    16                 Q       Okay.     Were you taking notes

    17       during that process?

    18                 A       No.     Norman was taking the

    19       notes.

    20                 Q       Okay.     Did you use his notes

    21       then to prepare the supplemental report?

    22                 A       Did I what?

    23                 Q       Use his notes to prepare the

    24       supplemental report?

    25                 A       Yes.



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     1                                      K.   J.   McCready            274

     2                 Q       If we can take a look at the

     3       notes that we marked yesterday,               do you have

     4       them right here?           I think they're

     5        Plaintiff's 77.         No.

     6                 A       Seventy-nine.

     7                 Q       Seventy-nine,          sorry.

     8                 A       Yes.

     9                 Q       These are your notes,           you said?

    10                 A       Yes.

    11                 Q       I want to refer you to one of

    12       the pages and I guess somebody labeled it.

)   13        It says A15 at the bottom.               Take a look at

    14       that.

    15                 A       (Complying.)

    16                 Q       That seems to contain

    17       information that you all say was acquired

    18       from Marty during this

    19       interview/interrogation; am I               right about

    20       that?

    21                 A       Yes,   that says started at 9:40.

    22       That's when we got to the headquarters.

    23                 Q       Right.       Well,     it has in there,

    24       security,     paranoid,        save the turkey?

)   25                 A       I'm sorry,        what?



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     1                                    K.    J.   McCready              275

     2                 Q       I'm just reading from the page.

     3                 A       Which page?

     4                 Q       A15.

     5                 A       Oh,    okay.

     6                 Q       This looks like information

     7       that you all say you acquired from Marty

     8       during the period of time he was being

     9       interrogated at the headquarters,              right?

    10                 A       Yes,    yes.

    11                 Q       I've used the word precinct,

    12       it's actually not a precinct,              right?

    13
)                      A       No.

    14                 Q       The homicide squad is in police

    15       headquarters in Yaphank?

    16                 A       Yes.

    17                 Q       If you turn to A16,         it has,

    18       sees blood,     father sleeps, mother other

    19       side,   poker game,       information about the

    20       will.    This is all information that was

    21       acquired during the course of this

    22       interrogation,      yes?

    23                 A       Yes.     Well,    yes,   during,    yes.

    24                 Q       Okay.     So you did take some

)   25       notes about it?



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     1                                     K.   J.   McCready             276
)
     2                 A      Yes.

     3                 Q      Or these are notes --

     4                 A      No,      you're correct.

     5                 Q        -- or these notes notes that

     6        you wrote up afterwards to kind of write

     7        down what you did as quickly as you could?

     8                 A        No,    this is during when we were

     9        interviewing him.

    10                 Q        Okay.     I don't see any notes

    11        here from you concerning what happened once

    12        you began to confront Marty,             as we've

    13        described it,      with what you all thought were

    14        inconsistencies.

    15                 A        That's right.        That's Norman

    16        kept those notes.

    17                 Q        Was that a decision that you

    18        guys made to do it that way?

    19                 A        I don't know how we arrived at

    20        it,   actually.         I think it was probably

    21        because I was doing most of the questioning.

    22        I'm not a hundred percent on that.

    23                 Q        Okay.     But at some point in

    24        time as you began to confront Marty,                you

    25        stopped writing anything down?



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 1                                     K.   J.   McCready                 277

 2                  A       Pardon me?

 3                  Q       You stopped writing down

 4        things?

 5                  A       Yeah,    until the conversation we

 6        had with Shari on the phone.

 7                  Q       Well,    you wrote that down but

 8        that was sometime later,           right?

 9                  A       Right.

10                  Q       Okay.     By the way,     that

11        conversation you wanted to record?

12                  A       Pardon me?

13                  Q       That conversation you all

14        wanted to record?

15                  A       Yes.

16                  Q       And you actually tried to but

17        Shari wouldn't let you?

18                  A       That's correct.

19                  Q       Okay.     If I can refer to Rein's

20        notes,    I take it you used those to prepare

21        your supplemental report?

22                  A       Yes.

23                  Q       So those are actually,           I    think,

24        71 -- 60,     61 and 62.      I want to refer you to

25        a part of that.



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     1                                             K.   J.   McCready             278
)
     2                                Did I    understand that Mr.         Rein

     3        or then Detective Rein was some kind of --

     4        Excuse me one second -- then Detective Rein

     5        was some kind or had been an emergency

     6        medical technician of some sort?

     7                    A           Yes.

     8                    Q           What was he?

     9                    A           I   don't know to be honest with

    10        you.    I       know he was involved in the fire

    11        department,         I       believe.

    12                    Q           So he had some emergency

    13        medical training?

    14                    A           I   guess.

    15                    Q           So he would have been familiar

    16        with language that's used by medical

    17        personnel?

    18                    A           Probably.

    19                    Q           Marty,    of course,      had no such

    20        training,         right,       that we're aware of?

    21                    A           I   have no idea.

    22                    Q           You're not aware of any

    23        training that the 17-year-old had,                        right?

    24                    A           No.

)   25                    Q           Now,    you guys claim that you



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     1                                    K.   J.   McCready              279

     2        wrote these notes up contemporaneous with

     3        when Marty was speaking to you,             right?

     4                 A        Yes.

     5                 Q        And obviously Detective Rein

     6        testified that he tried to write down what

     7        Marty was saying?

     8                 A        Yes.

     9                 Q        And that it was important to

    10        use Marty's words,         not the words of what was

    11        in your mind,      but to use what was corning out

    12        of his mouth,      right?

)   13                 A        Right.

    14                 Q        I want to show you what's been

    15        marked as Plaintiff's Exhibit 61 and I want

    16        to refer you to the bottom of the page

    17        there,   and if you recall,           yesterday we had

    18        some discussion about whether or not Marty

    19        told you about what the 911 operator told

    20        him or whether or not you listened to the

    21        tape and then wrote down what the 911

    22        operator said.       You remember those

    23        questions?      You remember talking about that

    24        yesterday?

)   25                 A        You got me confused here.



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     1                                    K.   J.   McCready              280

     2                 Q        Sorry, that was a confusing

     3        question.     Withdrawn.

     4                          Do you remember yesterday we

     5        spoke about whether or not Marty told you

     6        that the operator told him to put pressure

     7        on his father's neck wound?

     8                 A        Yes.

     9                 Q        Okay.    And you said that you

    10        knew about those instructions, not because

    11        you had listened to the tape but because

    12        that's what Marty said to you,            right?

    13
)                      A        Yes.

    14                 Q        Okay.    And Marty told you

    15        that -- I guess, according to you -- during

    16        the course of this interview where Rein was

    17        writing notes,      yes?

    18                 A        Yes.

    19                 Q        And yesterday I showed you your

    20        notes and I said,         show me where Marty said,

    21        put the pressure on the wound,            and you said,

    22        well,   I just did not write it down, but he

    23        said it; do you remember that?

    24                 A        I didn't write it down.           Norman
    25        wrote it down.



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      1                                     K.    J.   McCready         281
)
      2                  Q       What did Norman write down?

      3        Can you read that about what he wrote down?

      4                  A       Instructions is abbreviated.

      5        Instruction 911 operator,               put father on

      6        floor,    et cetera.       Compress wound with

      7        towel,    elevate feet.

      8                  Q       So your testimony is that

      9        Martin Tankleff used the word "compress

     10        wound"?

     11                  A       Yeah.

     12                  Q       That's the word he used --

-)   13                  A       Yes.

     14                  Q       -- when he was talking to you?

     15                  A       Yes.

     16                  Q       That's not Detective Rein's

     17        language,     something that he wrote down

     18        afterwards being an EMT,            that's something

     19        that the 17-year-old high school student

     20        said?

     21                          MR.    DUNNE:     I object to the

     22                  form of that.           It's calling for

     23                  someone's state of mind but if you

     24                  know.

     25                  A       He's repeating what the 911



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     1                                    K.    J.   McCready             282
)
     2        operator told hem,        as far as I      know.     I

     3        don't know what the 911 operator told him

     4        exactly.     I have a good idea.           I don't

     5        recall all the exact words.              I haven't heard

     6        that tape in 25 years or whatever.

     7                 Q       But at the time you had written

     8        your supplemental report on the 14th of

     9        September,    you actually had heard the tape

    10        and relatively close in time to when you

    11        wrote the report,        right?

    12                 A       I don't know when I heard that

    13        tape.    I'm not sure if I heard that tape

    14        until we got to the trial.

    15                 Q       Well,   yesterday you told us

    16        that you heard it before the 14th, now

    17        you're saying you don't know?

    18                 A       I don't remember saying that

    19        yesterday.

    20                 Q       Well,   it's a good thing we have

    21        a court reporter.        One of our memory is bad

    22        but that's all right.

    23                         At this point,        you're saying

    24        that you don't think you heard the 911 tape

    25        until the trial?



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     1                                   K.   J.   McCready              283

     2                 A      Yeah.     Or the hearing or at

     3        some point in time.

     4                 Q      As a homicide detective,           you

     5        would not have listened to the 911 tape

     6        shortly after the crime happened?

     7                 A      Not necessarily, no.

     8                 Q      Do you remember one way or the

     9        other?

    10                 A      I don't recall right now.

    11                 Q      Okay.     Thank you.

    12                 A      Okay.

    13                 Q      You have your supplemental

    14        report there?

    15                 A      Yes.

    16                 Q      I think it's 69, actually.

    17        Now,   as you're interviewing Martin and he's

    18        telling you what took place,           is there a

    19        reason why you, when he tells you something,

    20        you don't simply accept what he says and you

    21        challenge him on it or ask him questions on

    22        it over and over again?

    23                 A      I think you're going to have to

    24        rephrase that question.

)   25                 Q      Sure.    Martin had told you all



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     1                                     K.   J.   McCready             284

     2        several times what took place the morning

     3        that he woke up,         right?

     4                 A        Yes.

     5                 Q        And you asked him to repeat it

     6        several times?

     7                 A        Yes.

     8                 Q        And in the interview process

     9        you asked him to go over and over it a

    10        couple of different times,             right?

    11                 A        Yes.     Yes.   Some things,      yes.

    12                 Q        Right.     And you actually had

    13        him give a demonstration at certain points?
)
    14                 A        Yes.

    15                 Q        Is there a reason why you asked

    16        him to repeat the same events over and over

    17        again?

    18                 A        With regard to demonstration,

    19        it was because it seemed impossible to me

    20        that he didn't get blood on that sweatshirt

    21        based on what he was telling us.                And then

    22        the ridiculous attempt he made                  first he

    23        pulled his sleeves up and then he pulled his

    24        shoulders down.          It was ridiculous what he

    25        was demonstrating to us.



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     1                                    K.   J.   McCready              285

     2                  Q       Well,   that was probably the

     3        fourth or fifth time you had asked him what

     4        happened after the 911 operator call.                 What

     5        I'm asking you is, why are you asking him to

     6        go over the same material again and again?

     7        Is it that you did not believe him?

     8                  A       No,   I didn't believe him.

     9                  Q       Is that why you kept asking

    10        questions?

    11                  A       Certainly.

    12                  Q       So as a homicide detective

    13
)             you're not required to simply accept what

    14        somebody says to you.            If you don't believe

    15        them,    you are allowed to inquire further and

    16        ask them more questions about it,             obviously,

    17        right?

    18                  A       Sure.

    19                  Q       Okay·    Let's go back a second

    20        to your supplemental report and if we can go

    21        to Page 3, please.

    22                  A       (Complying.)

    23                  Q       Down at the bottom one,          two,

    24        three,    four lines from the bottom where it

    25        says,    he was instructed by the 911 operator.



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     1                                     K.   J.   McCready              286

     2                  A       Yes.

     3                  Q       Well,    you wrote down he was

     4        instructed by the 911 operator to get a

     5        clean towel,       apply pressure to the wound

     6        area,    to lay his father down and elevate his

     7        feet?

     8                  A       Yes.

     9                  Q       Well,    the 911 operator -- and

    10        we can play the tape if you'd like -- but

    11        the 911 operator says put pressure on the

    12        wound.        The word that she uses is pressure;

    13        do you know that?
)
    14                  A       No,    I don't know that.

    15                  Q       Why didn't you write down

    16        compress the wound the way that Rein did?

    17                  A       I don't know.        I mean some            a

    18        lot of this is the sum and substance of what

    19        he said.        I don't know exactly why but

    20        that's what he said.

    21                  Q       You're certain that the

    22        supplemental report is a product of what

    23        Marty said,       not information that you

    24        gathered later on?

    25                  A       Right.



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     1                                     K.   J.   McCready              287

     2                 Q        You discussed with Marty the

     3        terms of his parents Will;             is that right or

     4        his dad's Will?

     5                 A        At some point in time,           yes.     I

     6        don't remember that.

     7                 Q        Take a look at Page 8 --

     8                 A        Page 8.

     9                 Q        -- of your supplemental report.

    10                 A        Yes.

    11                 Q        It says,   we had discussions

    12        about money.

    13                          Yes.
)                      A

    14                 Q        And then it says,       he knew he

    15        was the primary beneficiary if they would

    16    I   both die.

    17                 A        Yes.

    18                 Q        Didn't he also say something

    19        along the lines that his sister would only

    20        get a small amount of money?

    21                 A        Yes.

    22                 Q        Did he tell you that he

    23        actually wasn't going to be the beneficiary

    24        until he turned 25,         that the money would be

    25        put in trust until then?



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 1                                     K.   J.   McCready             288

 2                 A        I don't remember him telling me

 3        that at all.

 4                 Q        Well,   he clearly --

 5                 A        I've heard that since then,              but

 6        I have no recollection of him saying it that

 7        morning.

 8                 Q        He clearly had some

 9        understanding of his father's estate and the

10        Will and what would happen,             right?

11                 A        Yes.

12                 Q        You're saying he just didn't

13        tell you the part about him not collecting

14        the money until he is 25?

15                 A        I don't remember him saying

16        that.    Possibly he did,         but I don't remember

17        him saying that.

18                 Q        Okay.    You obviously did not

19        write down every single thing that Martin

20        said,   correct?

21                 A        Correct.

22                 Q        This is,    as you put it,       is the

23        sum and substance of what he said.                 You did

24        the best you could but you all elected not

25        to record this conversation so we don't have



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     1                                     K.   J.   McCready            289
)
     2        a verbatim transcript of what was said,

     3        true?

     4                 A        That's correct.

     5                        MR.      DUNNE:    I ' l l object to the

     6                 form of that question.

     7                 A        I told you before that was not

     8        our procedure at the time.              Had it been our

     9        procedure, we would have done that.

    10                 Q      All right.         Now,   as far as the

    11        ruse goes,    the thing with his father,            we

    12        talked about that a little bit yesterday but

    13        regardless of what Marty or an innocent

    14        person could or would have done in any

    15        circumstances,        it worked here; didn't it?

    16        The ruse worked?

    17                 A        Yes.

    18                 Q        You,    in essence,     got Marty to

    19        begin to speak to you about the crime in

    20        your view,    right?

    21                 A        Yes.

    22                 Q        And it began with him wondering

    23        out loud whether or not he could have

    24        blacked out,      whether or not he could have

)   25        been possessed,          literally whether or not he



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     1                                     K.   J.   McCready             290

     2        could have done it without remembering,

     3        correct?

     4                 A        Yes.

     5                 Q        I don't mean this in a physical

     6        sense but mentally,         you beat him,     you broke

     7        him?

     8                          MR.    DUNNE:    I'm going to object

     9                 to the form of the question.

    10                 A        I don't like the word "beat."

    11                 Q        But but

    12                 A        No,    we did our job and we did

    13        it properly.
)
    14                 Q        We talked about this for a

    15        while yesterday.          Part of your job,        in your

    16        view

    17                 A        Is to try to get him to roll

    18        over,   yes.

    19                 Q        And you did it here,        right?

    20                 A        Yes.

    21                 Q        You literally convinced him

    22        that it was in his best interest to tell you

    23        about the crime --

    24                 A        Yes.

)   25                 Q        -- rather than continue to



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     1                                    K.   J.   McCready              291

     2        deny?

     3                 A        Yes.

     4                 Q        Right?

     5                 A        Yes.

     6                 Q        And then he began to give you

     7        details about the crime,          right?

     8                 A        Yes.

     9                 Q        Now,   you've had instances,

    10        haven't you, where individuals have

    11        minimized their role in a homicide,                right?

    12                 A        Much like Marty tried to do

    13        many times.       He kept inflecting things and
)
    14        trying to minimize things.             That's the

    15        normal occurrence in any --

    16                 Q        We'll talk about what Marty did

    17        in a second, but just generally speaking,

    18        you've had instances where people have

    19        offered false defense claims,            right?      Yes,    I

    20        killed him but I only killed him because I

    21        thought he was going to kill me,            right?

    22                 A        Yes.

    23                 Q        People have offered up false

    24        explanations of being under some kind of

)   25        mental strain or stress,          right?



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     1                                    K.   J.    McCready             292

     2                 A        Yes.

     3                 Q        People have offered up all

     4        kinds of "it was an accident" is probably

     5        something that frequently happens,                right?

     6                 A        Yes.

     7                 Q        "I shot him but I didn't mean

     8        to shoot him," something along those lines?

     9                 A        Yes.

    10                 Q        So you have all kinds of

    11        instances where people minimize their

    12        involvement in a crime and the minimization

    13        offers some kind of defense; self defense,

    14        accident, mistake, things like that,                right?

    15                 A        Yes.

    16                 Q        In Marty's particular case, he

    17        told you,    according to you,          that he planned

    18        to commit the murder,         right?

    19                 A        Yes.

    20                 Q        He told you,        according to you,

    21        that he set his alarm clock early so he

    22        would get up to commit the murder,                correct?

    23                 A        Yes.

    24                 Q        He told you that he selected a

)   25        weapon to commit the murder,             correct?



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     1                                     K.    J.   McCready            293

     2                 A        Yes.

     3                 Q        He said that he thought about

     4        it ahead of time and decided to kill both of

     5        his parents,      right,    according to you?

     6                 A        Yes.

     7                 Q        According to you,         that he

     8        looked around and surveyed the house and saw

     9        where his parents were and then decided to

    10        go forward with his plan,               right?

    11                 A        Yes.

    12                 Q        And according to you Marty

    13        selected his mother to be the first victim,
)
    14        correct?

    15                 A        According to Marty.

    16                 Q        And according to Marty he

    17        attacked his mother and beat her with a

    18        barbell and cut her throat and stabbed her a

    19        number of times,         right?

    20                 A        Yes.

    21                 Q        And then after he murdered his

    22        mother or attacked his mother -- naked by

    23        the way -- according to him he said he did

    24        this naked because he didn't want to get

    25        blood on his clothing,            right?



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     1                                     K.   J.   McCready             294
)
     2                 A        Yes.

     3                 Q        According to you Marty says he

     4        walked down the hallway with the intent to

     5        kill his father,         right?

     6                 A        Yes.

     7                 Q        And when he got down to where

     8        his father was,      he hid the barbell and the

     9        knife behind his back,            right?

    10                 A        Yes.

    11                 Q        And according to you he went

    12        around the back of his father and beat his

    13        father and slashed his neck,               correct?

    14                 A        Yes.

    15                 Q        And then tried to cover it up

    16        by calling 911 and pretending to be panicked

    17        and pretending to offer his father first

    18        aid,   right?

    19                 A        Yeah.

    20                 Q        So what defense did Marty build

    21        into that?

    22                 A        What defense did he --

    23                 Q        What was the minimization?

    24        What was the self defense?              Where was the

)   25        accident?       Where was the mistake?



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     1                                   K.   J.   McCready              295
)    2                 A      What he did was when he ran

     3        around the neighborhood screaming and

     4        yelling about his parents being murdered and

     5        trying to convince everybody like he's the

     6        poor innocent little boy here,           which he was

     7        not and he's not,      that's how he is

     8        minimizing it.

     9                        All his acting and his role of

    10        being grieved and cried out in five minutes

    11        or whatever.      He didn't even cry when he was

    12        convicted.      There's a picture of him in the

    13        newspaper,    front page of Newsday, where he
)
    14        was,   oh, looking like this, he didn't have a

    15        tear coming out of his eye.

    16                 Q      You're not suggesting that he

    17        was not upset that he got convicted of

    18        killing off his parents and that he was

    19        going to spend the rest of his life in

    20        prison, are you?

    21                 A      Let me tell you something,            if I

    22        were wrongly convicted,         I would be balling

    23        my eyes out.

    24                 Q       I mean,   I saw an interview of

    25        you someplace where you said that you cry.



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     1                                    K.   J.   McCready              2 96
)
     2                 A        I do.

     3                 Q        Some people cry,       right?

     4                 A        Yes.

     5                 Q        Some people don't.           You're not

     6        saying that Marty when he got convicted

     7        wasn't upset,      right?     When he got convicted,

     8        you're not suggesting he wasn't upset,                are

     9        you?

    10                 A        I don't know if he was upset or

    11        what he was,      but to me he was a big act in

    12        the courtroom there when he did that with

    13        that face.
)
    14                 Q        It was an act,       okay.

    15                          In any event,       let me get back

    16        to the

    17                 A        Go ahead.

    18                 Q        The minimization that I thought

    19        we were talking about is what somebody does

    20        when they offer up the confession.                 They

    21        just don't come out and say yeah,               I did it.

    22        They offer the confession along with an

    23        excuse or defense?

    24                 A        Well,   that's when he starts to

    25        say,   could I    have blacked out,       could I have



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    1                                    K.   J.   McCready              297

    2        been possessed.

     3                 Q      But after that, according to

     4       you, he says well,        no,    I remember it and

     5       here's what happened,           right?

     6                 A      Yes.

     7                 Q      So as he's telling you,

     8        according to you,        the details of what took

     9       place,    he's not offering any minimization.

    10        He's not offering any defense.             He's telling

    11        you,   according to you,        I thought about it,          I

    12        decided to do it and I did it?

    13                 A        Yes.
)
    14                 Q      And here's how I did it,

    15        according to you.

    16                 A        Yes.

    17                 Q      And there is not one single

    18        thing in there in the confession part of

    19        this that could be used as a defense; is

    20        there?

    21                 A        No.

    22                 Q        So you literally broke him

    23        mentally.     You got him to spill the whole

    24        thing without any defense,           any excuse, any

)   25        nonsense?



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     1                                     K.   J.    McCready            298
)
     2                 A        Yes.

     3                 Q        Right?

     4                 A        However, what he told us was

     5        not necessarily all true.               We don't know

     6        that,   that's why we go back and try to

     7        corroborate the confession later on.                 We

     8        don't -- I've had many confessions where

     9        they never tell you a hundred percent of the

    10        truth and then you go back and find out

    11        well,   this isn't truth.

    12                          The guy who rapes and kills a

    13        girl, whatever,         he admits to raping her
)
    14        vaginally but then he won't tell you about

    15        that he did her anally also.               There's all

    16        sorts of things that happen like that.

    17                 Q        Right, well,         here Marty doesn't

    18        seem to have -- if you're account is

    19        correct -- Marty doesn't have seemed to have

    20        held back at all; has he?

    21                 A        We didn't finish the

    22        confession, did we?          We were put on notice

    23        so there's a whole bunch of other questions

    24        we would have liked to have asked him.

    25                          MR.    DUNNE:   Objection.



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     1                                        K.   J.   McCready            299
)
     2                 Q          There was nothing stopping you

     3        from asking the questions as he was telling

     4        the story; was there?

     5                 A          No,    but as we were writing it

     6        down,   as he went over it again,              as we asked

     7        him questions,         I was writing it down.

     8                 Q          We just talked about the fact

     9        that if somebody is telling you something

    10        and you don't think it's true that you're

    11        free to challenge them on it and tell them

    12        it's nonsense and so forth?

)   13                 A          Yes.

    14                 Q          So Marty's oral statements

    15        began around five of 12:00,                correct?

    16                 A          Yes.

    17                 Q          You were not put on notice,

    18        according to you,             until sometime after

    19        1 o'clock?      I     think 1: 22.

    20                 A          1: 2 2.

    21                 Q          So that gave you an hour and

    22        25 minutes or so to challenge Marty's

    23        account if you didn't believe it,                right?

    24                 A          Yes.

    25                 Q          And at any point when he's



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     1                                      K.   J.   McCready               300
)
     2        telling you that he decided to kill his

     3        parents the night before, that he went and

     4        got a barbell, that he got a kitchen knife,

     5        that he beat and stabbed his father and

     6        mother, at any point did you say to him,

     7        hey, Marty,        I don't believe that.           That's

     8        not true.         That could not have happened?

     9                  A        Not that I      recall.

    10                  Q        And just to go through this in

    11        some detail, it may take a minute or two,

    12        but it's probably worth doing.

    13
)                                Did Marty say to you that he

    14        wanted a lawyer during the course of this?

    15                  A        No.

    16                  Q        Did Marty say,       I   want to call a

    17        lawyer.       I   want to talk to my Uncle Mike?

    18                  A        No.

    19                  Q        Did you tell Marty that if he

    20        wants to speak to a lawyer that he's a

    21        criminal?

    22                  A        That what?

    23                  Q        That he's a criminal.             That if

    24        he wants a lawyer that means he's a

    25        criminal?



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 1                                     K.   J.   McCready              301

 2                  A       I advised him of his rights and

 3        had him sign a rights card.

 4                  Q       Did you tell Marty that if he

 5        wanted to speak to a lawyer he's a criminal?

 6                  A       No,    I read him his rights.             He

 7        knew what his rights where.

 8                  Q       You said you read him his

 9        rights at some point after you did this

10        ruse,    correct?

11                  A       Yes.

12                  Q       Marty says that didn't happen?

13                  A       I don't care what he said.

14        That's his handwriting on the rights card.

15        He signed it.

16                  Q       Is there a time on the rights

17        card?

18                  A       No.    That was my fault.

19                  Q       Is there a time anywhere,            a

20        stamp,    a notation of when it was done?

21                  A       Yes,    it's in Detective Rein's

22        notes.

23                  Q       Right, but those aren't stamped

24        either,       right?

25                  A       Stamped?



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     1                                   K.    J.   McCready              302

     2                 Q      Stamped.        We don't have any

     3        contemporaneous note that we can say you

     4        turned your notes in.           Here's the notes I

     5        had that day.      We don't know other than you

     6        telling us.

     7                        I'm not saying we should

     8        believe you or we shouldn't but other than

     9        you telling us we don't know when the rights

    10        card was signed; do we?

    11                 A      You don't know.          I know it.

    12        Detective Rein knows it.              It was written

    13        that day.
)
    14                 Q      But when you're preparing

    15        reports you know that this is all going to

    16        court and it's subject to challenge by

    17        attorneys and by courts and by prosecutors

    18        and defense lawyers,       right?

    19                 A      Certainly.

    20                 Q      So at the end of the day what

    21        happened in that interview room,             we have two

    22        choices.     We can believe you,          right?

    23                 A      Yes.

    24                 Q      And Detective Rein?

    25                 A      Yes.



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     1                                    K.   J.   McCready               303

     2                 Q        Or we can believe Marty; is

     3        that fair?

     4                 A        You believe who you want to

     5        believe and I ' l l believe who I want to

     6        believe.

     7                 Q        I understand but everybody gets

     8        to make that choice; don't they?

     9                 A        Yes,   they do.

    10                 Q        And that choice is something

    11        that you decided to do by setting this up in

    12        a way where it was going to be your word

    13
)             against the suspect's word,            right?

    14                 A        I didn't set it up.        That's the

    15        way it worked out.

    16                 Q        You didn't bring a court

    17        stenographer in to record what was being

    18        said; did you?

    19                 A        No.

    20                 Q        We said this several times.

    21        You didn't record this,          correct?

    22                 A        No.

    23                 Q        Now, Marty says to us,           and I

    24        think to courts and so forth when he's

    25        testified,    that what happened was when you



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     1                                       K.   J.    McCready            304
)
     2        all asked him for the details he said,                  "I

     3        don't know.       I   didn't do this."          Is that

     4        true?

     5                 A       No,    he's a liar.

     6                 Q       Again,    I   understand your view

     7        and other people can have different views.

     8        Rather than

     9                 A       You asked me if it was true;                 I

    10        said no,     he's a liar.

    11                 Q       Okay.     Well,         what I was going

    12        to suggest to you is that the part no,                  it's

)   13        not true is probably a sufficient answer to

    14        my question.          If you want to refer to Marty

    15        as a liar,     you can but really --

    16                 A       He didn't tell the truth.               He

    17        didn't tell the truth in the court.

    18                 Q       Okay.     So we could go back and

    19        forth,   right?        I mean people could say that

    20        you're lying and you can say that Marty is

    21        lying.       I don't want to get into that kind

    22        of name calling.          I want to ask questions

    23        about what happened,           okay?

    24                 A       I understand.             Let me put it to

)   25        you like this then.            There are 12 jurors in



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     1                                     K.    J.   McCready            305

     2        that courtroom who listened to every word

     3        that I said,      that Detective Rein said, all

     4        the other witnesses said, and even what he

     5        said when he took the stand with Mr.

     6        Gottlieb,    and they convicted him of murder,

     7        alright.

     8                 Q        Alright.        And we can go back

     9        and forth because then four judges listened

    10        to the whole thing again and decided that he

    11        deserved a new trial.             The attorney

    12        general's office looked at the whole thing

    13        again and decided not to retry.
)
    14                          I understand that the 12 jurors

    15        believed you, but you understand,               don't you,

    16        that other people get to make an independent

    17        judgement of this?

    18                 A        My understanding is that

    19        nobody's saying that he's innocent, they

    20        just said give him a new trial.               Nobody said

    21        he didn't do it.         They just said give him a

    22        new trial.

    23                          MR.   DUNNE:      I got the

    24                 clarification.           It's here on record

    25                 here.      Just,    you know --



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    1                                      K.    J.   McCready             306
)   2                  Q      You understand people get to

     3       make their own judgement about who is

     4       telling the truth here

     5                 A      Of course.

     6                 Q              so you can have your own

     7        view; other people are going to have theirs.

     8        What I want to ask you is what actually

     9        happened and then you're saying that

    10        something didn't happen,            just tell me that.

    11                        Marty says that -- right at the

    12        beginning here on Page 11 -- Marty says that

    13        when you asked him what happened his

    14        response was,      "I don't know.          I don't

    15        remember doing this."

    16                 A        That's what Marty says.

    17                 Q        And you're saying that's not

    18        true;   is that right?

    19                 A        That's right.

    20                 Q        Then when you asked him,            how

    21        did he do it, who did he kill first,                 is it

    22        true that Marty said,             "I don't know.       I

    23        don't have any memory of this.               I don't know

    24        what took place."          Did he say that?

    25                 A        No.




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     1                                    K.   J.   McCready             307
)
     2                 Q       He says that you told him,

     3        look, we know you killed your mother first,

     4        just say that.

     5                 A       How would I      know that?

     6                 Q       Actually, we'll come back to

     7        that in a minute but for right now what I

     8        want to just do is ask you,            did you tell

     9        him,   "we know you killed your mother first,

    10        just tell us that's what you did"?

    11                 A       No.

    12                 Q       He says that when you asked him

    13        what weapons were used that you told him

    14        excuse me.     That when you asked him what

    15        weapons were used he said,            "I don't know.        I

    16        didn't do this.        I   don't have any memory of

    17        it."    Did he say that?

    18                 A       No.

    19                 Q       He says that when you were

    20        asking him about this you told him,               "we know

    21        that you used the barbells in your room and

    22        just tell us that."          Did you say that to

    23        him?

    24                 A       No.

    25                 Q       He says that you told him that



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     1                                     K.   J.   McCready             308

     2        you knew that the watermelon knife was used.

     3        Did you tell him that?

     4                 A        No.

     5                 Q        He says that all of the details

     6        in here,     all of the details in here were

     7        more than suggested,         were literally told to

     8        him by you and Detective Rein and that he

     9        simply adopted and said,           "I guess so.       If

    10        that's what you want to hear,             I   guess that's

    11        what I   did."

    12                 A        No.

    13                 Q        That did not happen?

    14                 A        No.

    15                 Q        You're certain of that?

    16                 A        Yes.

    17                 Q        We talked before about the

    18        layout of the house,         right?

    19                 A        Yes.

    20                 Q        Now,    you know how big the house

    21        is,   right?

    22                 A        Yeah.

    23                 Q        And if we can take a look at

    24        what was marked as Plaintiff's Exhibit 81,

)   25        we knew that the murders occurred at some



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     1                                   K.   J.   McCready              309
)
     2        point after say 3 o'clock and before 6:11 or

     3        so,   correct?

     4                 A       Yes.

     5                 Q       And you know that the father

     6    I   was found at the other end of a very long

     7        ranch-style house,       right?

     8                 A       Yes.

     9                 Q       That Marty's room is literally

    10        across the hall from his mother,           correct?

    11                 A       Yes.

    12                 Q       So that if Marty woke up in the

    13        morning and decided to kill his parents,                  he

    14        would have seen his mom first,           right?

    15                 A       Yes.

    16                 Q       And that's something you knew

    17        when you were doing this interrogation,

    18        right?

    19                 A       Yes.

    20                 Q       Okay.    Thanks.     By the way,         did

    21        you participate in a sound test in the

    22        house?

    23                 A       Yes.

    24                 Q       Tell us about that if you

)   25        would.



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    1                                      K.   J.   McCready            310

    2                   A       I had one detective stood at

     3       one end down in the office area and I                stood

     4        in the other and we both yelled at the top

     5        of our lungs and couldn't hear each other.

     6                  Q       Didn't one of you stand in the

     7       master bedroom and one of you stand in

     8       Marty's room and do the same thing?

     9                  A       Yes.

    10                  Q     And you couldn't hear there

    11        either,   could you?

    12                  A       Yes,    you could.

    13                  Q       You could?
)
    14                  A       Yeah.

    15                  Q       Your testimony is that you

    16        actually could hear somebody yelling from

    17        the master bedroom and Marty's room?

    18                  A       Yes.

    19                  Q       Not that you couldn't hear?

    20                  A       No,    we could hear.

    21                  Q       Was there testimony at the

    22        trial from experts,         if you know,     that did

    23        literally a sound test between those two

    24        rooms?

)   25                  A       I don't know.         I'm not familiar



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    1                                    K.   J.   McCready              311
)             with that.
    2

     3                 Q      Okay.     Let me ask this.

     4   I    According to the confession Marty

     5    I   supposedly -- Oh,       by the way,     the 5:35,      when

     6    I   you went into Marty's room,           didn't you push

     7        the alarm clock dial to see what time the

     8        alarm was set for?

     9                 A      No.

    10                 Q        Did Detective Rein do that?

    11                 A        Not that I'm aware of.

    12                 Q        Did Detective Sergeant Doyle?

    13                 A        Not that I'm aware.

    14                 Q        The alarm clock was there,

    15        right?

    16                 A        I don't know.       I don't

    17        remember.

    18                 Q        You don't remember seeing the

    19        alarm clock?

    20                 A        No.

    21                 Q        In any event,      the confession

    22        says that Marty woke up at 5:35,            right?

    23                 A        That's what he told us.

    24                 Q        He actually told you initially

    25        that he woke up at 5:35 and laid in bed for



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 1                                      K.   J.    McCready               312

 2        a while then got up and went about the house

 3        and found his parents,             right?

 4                 A        Right.

 5                 Q        But during the time we'll call

 6        the interrogation phase or the confession

 7        phase,   he said he woke up at 5:35 and got a

 8        barbell and went to kill his parents with

 9        it,   correct?

10                 A        You have the written --

11                 Q        The written?

12                 A        Yeah,    the written confession.

13                          MR.    DUNNE:     You mean the typed?

14                          MR.    BARKET:        No,   I think he

15                 means --

16                          THE WITNESS:           The handwritten.

17                          MR.    BARKET:        Yeah,   I   actually

18                 do.

19                          MR.    DUNNE:     I was not sure.

20                          MR.    BARKET:        Can we have this

21                 marked,        please,    as an exhibit.

22                          (Whereupon,       Plaintiff's Exhibit

23                 97 was marked for identification.)

24                 Q        Here's a copy of the written.

25    I   When you say the written part of it,                   what



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     1                                     K.   J.    McCready             313
)
     2        this is is a -- The handwriting is yours;                    is

     3        that correct?

     4                 A        Yes.

     5                 Q        And that you're writing out

     6        something for Marty to sign,              right?

     7                 A        Yes.

     8                 Q        But you didn't get all the way

     9        through it,      a lawyer called the squad and

    10        said you have to stop questioning now and

    11        you had to stop questioning?

    12                 A        Yes.

    13                 Q        So I was asking you about what

    14        Marty supposedly said about what he did

    15        after 5:35,      alright.     You have the written

    16        statement there.          If you need to refer to it

    17        feel free.

    18                          MR.    DUNNE:   I'm sorry,       after

    19                 5:35?

    20                          MR. BARKET:          Yeah,   after 5:35.

    21                 He woke up at 5:35.

    22                 Q        He woke up at 5:35 and

    23        according to you he got a barbell from the

    24        weights that he has in his room,                right?

    25                 A        Yes.



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    1                                     K.   J.   McCready             314

    2                  Q      And that according to you he

     3       went and looked for both of his parents,

     4        correct?

     5                 A        I believe he went and looked

     6        and saw his father sleeping in the chair.

     7                 Q        Initially,     according to you,         he

     8        went to look for his parents in the bedroom

     9        but only saw his mother there,            right?

    10                 A        That's what he initially said.

    11                 Q        Then he went to the other side

    12        of the house and found his father sleeping

)   13        in the chair,      right?

    14                 A        Yes.

    15                 Q        And then decided to kill his

    16        mother first and went back and attacked her,

    17        according to you?

    18                 A        Yes.

    19                 Q        That he attacked her with the

    20        barbell initially and cut her throat?

    21                 A        Yes.

    22                 Q        And then she was screaming and

    23        so he went to the kitchen to get a knife?

    24                 A        Yes.

    25                 Q        Well,   if he cut her throat



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     1                                     K.   J.   McCready             315

     2        initially, why would he have to go back to

     3        the kitchen and get a knife?

     4                 A        No,   he did not cut her throat

     5        initially.     He whacked her with the barbell.

     6                 Q        Well,    I'm reading from the

     7        continuation report,         the supplemental report

     8        of Page 12.       Is this what you wrote,

     9        "Initially, he was surprised" -- and I'm

    10        reading from the top of the page,              one line

    11        down -- "initially he was surprised that he

    12        wasn't in bed with his mother and that the

)   13        lights were on.           I asked him what he did to

    14        his mother.       He said he hit his mother with

    15        a dumbbell then cut her throat.               I asked him

    16        how his mother was lying in bed.               He said

    17        she was in bed on her back.               He was asked

    18        how many times he stabbed her.               He said he

    19        didn't know how many times he stabbed her.

    20        He volunteered that he got to her quickly."

    21                          And then later it says,          "she

    22        fought with him.          He said she was in pain

    23        calling for help saying,           why,    and help me."

    24        And then it goes on to say that he ran in to

    25        get a knife from the kitchen.



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     1                                     K.   J.   McCready             316
)
     2                 A        Yes.

     3                 Q        Are those the things that Marty

     4        told you in the order he told them to you?

     5                 A        Not necessarily.        That's the

     6        sum and substance of what he told us.

     7                 Q        So they are not in the correct

     8        order there?

     9                 A        I said not necessarily.           I mean

    10        he told us both things.            He ran to the

    11        kitchen to get the knife after he hit her

    12        with the barbell.

    13                 Q        Okay.   And then after he

    14        attacked his mother he went down the hallway

    15        naked carrying the weapons that he just

    16        used?

    17                 A        Yes.

    18                 Q        Those weapons would have had to

    19        have blood on them, no?

    20                 A        Yes.

    21                 Q        In fact,    the knife,    whatever

    22        was used to cut Mrs. Tankleff's throat,                    they

    23        say nearly decapitated but it was a deep

    24        neck wound; wasn't it?

    25                 A        Yes.



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     1                                    K.    J.    McCready            317
)
     2                  Q       There would have been a

     3        tremendous amount of blood associated with

     4        that,    correct?

     5                  A       Yes.

     6                  Q       And the beating about her head

     7        that would have also been a tremendous

     8        amount of bleeding or blood,              right?

     9                  A       Yes.

    10                  Q       And Marty is naked.         He doesn't

    11        have any clothing to absorb the blood that

    12        would have gotten on him,              correct?

    13                  A       Yes.

    14                  Q       So you're saying that Marty's

    15        naked,    carrying two bloody weapons, walked

    16        the length of the house, and then walked

    17        into his father's room,           correct?

    18                  A       Yes.

    19                  Q       And then he walked around

    20        behind his father and beat and stabbed him?

    21                  A       Yes.

    22                  Q       So now the weapons would have

    23        both the mother's blood on it and the

    24        father's blood on it,         correct?

    25                  A       Possibly,      yes.



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    1                                     K.   J.   McCready             318

    2                   Q      When you say possibly,          is there

     3       anyway

     4                  A      Because I don't know what he

     5       did in between.           I don't know.     He never

     6        told us.       I don't know what he did when he

     7        went from the bedroom to the father's

     8        office.       He could have done anything at that

     9        point in time.       He might have had a towel

    10        with him or something.           I don't know.

    11                  Q       Here's the thing.       We can all

    12        sit around and fantasize and speculate and

    13        make up scenarios of what he could have

    14        done,   but the only thing we have is his

    15        account now,      and it's been that way since he

    16        left your presence in that room that he

    17        didn't do this,      and your account of what he

    18        supposedly told you?

    19                  A       Yes.

    20                  Q       So what he supposedly told you

    21        is that he walked naked from one end of the

    22        house to the other carrying two weapons

    23        dripping with blood,         right?

    24                  A       Yes,   but as I said before,         you

)   25        don't always get a hundred percent out of



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     1                                    K.   J.   McCready              319
)
     2        these guys.       I don't think I've ever had

     3                 Q        You think that there was some

     4        part of that that was minimizing Marty's

     5        role according to you.           That somehow him

     6        walking naked with two weapons dripping with

     7        his mother's blood to go attack his father

     8        somehow was minimizing things?

     9                          MR.   DUNNE:    I'm objecting to

    10                 the form of that last exchange.                   Go

    11                 ahead.

    12                 A        I don't know.       Anything is

)   13        possible.

    14                 Q        Of course anything is possible

    15        but we're kind of stuck with the things that

    16        we can prove or the things that people told

    17        us,   right?   We're not allowed to sit here in

    18        any setting and make up stuff.

    19                          MR.   DUNNE:    I'm objecting to

    20                 the colloquy here.           You can continue

    21                 the questions.

    22                 Q        Marty told you that he walked

    23        dripping with blood from one end of the

    24        house to attack his father?

    25                 A        Where does it say he's dripping



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 1                                     K.   J.   McCready                320

 2        with blood.

 3                 Q        Wouldn't the weapons have to

 4        have blood on them?

 5                 A        They might have blood on them,

 6        it doesn't mean dripping with blood.                    If it

 7        was dripping with blood,           I   think we would

 8        have found blood when we searched.

 9                 Q        If Marty had done what you said

10        he said he did,         right?

11                 A        That doesn't mean that the

12        thing was dripping with blood.

13                 Q        It means it's possible that the

14        knife and the barbell didn't have blood on

15        them or it was not dripping off?

16                          MR.   DUNNE:     I object.       He

17                 offered an answer to that and you've

18                 already commented on the answer he

19                 gave you for that.

20                 Q        In any event,        Marty is walking

21        carrying the two weapons having not told you

22        that he somehow cleaned them off before he

23        attacked his father with them,             right?        He

24        didn't tell you that?

25                 A        No.



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 1                                     K.   J.   McCready             321

 2                 Q        And,    in fact,     you found nothing

 3        in the house at all indicating that he

 4        cleaned off those weapons with his mother's

 5        blood on them; did you?              There's no towel?

 6                 A        No.

 7                 Q        Then he says he walked to the

 8        other end of the house and attacked his

 9        father with the same two weapons?

10                 A        Yes.

11                 Q        If what his confession is is

12        true, he is now walking back to the other

13        end of the house to take a shower carrying

14        weapons,     still naked, with the blood of his

15        mother and his father on him,             right?     That's

16        what the confession says; doesn't it?

17                 A        Yeah, but --

18                 Q        That's your account of things,

19        yes?

20                 A        Yes,    that's what happened.

21        That's what he told us,           yes.

22                 Q        Okay.     And then he showers,

23        correct?

24                 A        Yes.

25                 Q        And then he returns the knife



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 1                                    K.    J.    McCready            322

 2        next to the watermelon,           right?

 3                  A       Yes.

 4                  Q       And somehow the knife then gets

 5        watermelon on it,        right?

 6                  A       Yes.

 7                  Q       So we know that that literally

 8        had watermelon on it,         right?

 9                  A       I do now.

10                  Q       At the time,         it just was a

11        pinkish substance,         correct?       We didn't know

12        what it was when you were taking Marty's

13        confession?

14                  A       I don't remember first time I

15        saw that knife.

16                  Q       And then you go back,         he goes

17        back,    and he lies down for a bit,           correct?

18                  A       Yes.

19                  Q       According to you that's what he

20        said he did,      right?

21                  A       Yes.

22                  Q       And thought about what to do,

23        right?

24                  A       Yes.

25                  Q       And then wakes up and calls



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 1                                    K.   J.   McCready              32 3

 2        911,   right?

 3                 A        Yes.

 4                 Q        So that the timing for this

 5        would have been about -- say 9:35 so about

 6        to 6:11 so about 36 minutes or so?

 7                 A        Yes.

 8                 Q        So in 36 minutes Marty did all

 9        of these things and erased any forensic

10        trace to him and being involved in this

11        crime?

12                 A        Yes.

13                 Q        Did Marty have some kind of

14        training in forensics that you're aware of?

15                 A        I have no idea.       I only told

16        you what he told us about taking a shower

17        and washing his stuff off.

18                 Q        You all searched the drain;

19        didn't you?

20                 A        Yes.

21                 Q        And you searched the drain

22        because you know from your experience in

23        investigating homicides that the drain has

24        all kinds of material in it and traps in it

25        that can collect things so when you wash



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     1                                     K.   J.   McCready             324

     2        something off it gets trapped in the drain?

     3                 A        Unless there is something in

     4        that drain then i t might catch the blood,

     5        but if there is nothing in that drain that's

     6        going to wash right away.

     7                 Q        Wouldn't there still be traces

     8        of hair,     or flesh,     or blood on the traps of

     9        the drain?

    10                 A        No.     In the trap?     Why would

    11        there be?

    12                 Q        Why did you search for it?

)   13                 A        Because i t ' s a good thing to

    14        do.

    15                 Q        Okay.    And you found nothing?

    16                 A        We searched for i t to

    17        corroborate what he had told us.

    18                 Q        And you found nothing?

    19                 A        Yes.

    20                 Q        So when you went -- After you

    21        took this statement from Marty and you went

    22        out to try and corroborate the things that

    23        you say he told you,         i t turns out that the

    24        knife had no traces of blood or tissue on

    25       it,    correct?



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     1                                     K.   J.   McCready              325

     2                 A        That's correct.

     3                 Q        Turns out that in all

     4        likelihood his father was killed first,                    not

     5        his mother,    correct?

     6                 A        I don't know.

     7                 Q        Well,   there's blood from the
     8        father in the room where the mother was, but

     9        no blood from the mother in the room where

    10        the father was,      true?

    11                 A        Yes.

    12                 Q        So in all likelihood his father
    13
)             was beaten and stabbed first and his blood

    14        was transferred to the mother's room,

    15        correct?

    16                 A        That's a possibility.

    17                 Q        And you analyzed the barbells
    18        as well and you found no traces of blood or

    19        hair or human tissue in the barbell,

    20        correct?

    21                 A        Correct.

    22                 Q        And nothing in the drain,
    23        correct?

    24                 A        Correct.

    25                 Q        And the blood that was found on



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 1                                    K.    J.   McCready            326

 2        Marty,   we talked about yesterday,           was his

 3        father's blood,        right,    on the shoulders?

 4        You checked that out overnight?

 5                  A      No.

 6                  Q      So --

 7                  A      I took your word for it.

 8                  Q      Thanks.        So when you went out

 9        to corroborate the details of how these

10        murders supposedly took place,             none of it

11        matched?

12                  A      It wasn't the first time;

13        probably won't be the last time.

14                  Q      Well, whether it was the first

15        time or the last time,           this time none of it

16        matched,      correct?

17                  A      Correct.

18                  Q      You all searched -- and I say

19        you all,      I mean the police searched the

20        yard,    correct?

21                  A      Yes.

22                  Q      You searched the cliff,

23        correct?

24                  A      Yes.

25                  Q      You searched the house,



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    1                                      K.   J.   McCready             327

    2        correct?

     3                 A      Yes.

     4                 Q      You searched every                You

     5        looked at every possible weapon in the

     6       house; every hammer,          every instrument that

     7        could possibly be used as a weapon, every

     8        knife,   correct?

     9                 A        I believe so.

    10                 Q      None of that,          nothing in the

    11        house,   nothing outside,         nothing on the

    12        bluffs, nothing anywhere had any traces of

              Arlene Tankleff's blood or Seymour
)   13

    14        Tankleff's blood; is that right?

    15                 A        That's correct.

    16                 Q        So as far as corroborating what

    17        he supposedly told you,           there is nothing to

    18        corroborate,      correct?

    19                 A        No.

    20                 Q        No,    there is not anything to

    21        corroborate.       I am correct about that,             yes?

    22                 A        Yes.

    23                 Q        As far as what information was

    24        available to you at the time that you were

)   25        taking this confession from Marty, the



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    1                                         K.   J.   McCready             328
)
    2         information was available to you -- and when

     3        I say to you I mean to you or police

     4        officers with whom you had contact, okay.

     5                        You had the ability to see the

     6        layout of the house,            correct?

     7                 A      Yes.

     8                 Q      You could see that Marty's room

     9        was right across from his mother's room,

    10        correct?

    11                 A        Yes.

    12                 Q        You knew that Arlene Tankleff's

    13        throat was cut,          yes?

    14                 A        Yes.

    15                 Q        You knew because you called

    16        Pfalzgraf,    I think,          that the father was

    17        attacked and bludgeoned and cut,                right?

    18                 A        I    knew that from Pfalzgraf,

    19        yes.

    20                 Q        Because he told you about it,

    21        right?

    22                 A        Yes.

    23                 Q        So the details of the

    24        confession that are here is all information

)   25        that was -- Let me finish.                 You also knew



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 1                                     K.   J.   McCready              329

 2        about the knife; didn't you?               The knife was

 3        out there for you to see,              whether or not you

 4        remember seeing it or not,              it was not hidden

 5        from your view,         right?

 6                  A       No.

 7                  Q       The barbells that were in his

 8        room they were in plain site; were they not?

 9                  A       I didn't see any barbells.

10                  Q       I didn't ask if you saw them,               I

11        asked if they were in plain sight?

12                  A       I    don't know.      I don't know

13        where they were.

14                  Q       In any event,        you were in

15        Marty's bedroom-- I ' l l show you pictures in

16        a second -- nobody stopped you from looking

17        around,       right?

18                  A       No.

19                  Q       You could see whatever you

20        could see,       yes?

21                  A       Yes.

22                  Q       In fact,    you're not just there,

23        as we talked about yesterday,             wandering

24        through,      you're there specifically to look

25        for evidence of a crime,           right?



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     1                                        K.   J.    McCready             330

     2                 A        Yes.

     3                 Q        You're one of the more seasoned

     4        homicide detectives,            correct?

     5                 A        Yes.

     6                 Q        And you're doing your job which

     7        you're good at?

     8                 A        Yes.

     9                 Q        Same thing when you're in the

    10        kitchen looking around in the kitchen,

    11        correct?

    12                 A        Yes.

    13
)                               MR. BARKET:             Could we have this

    14                 marked, please,             as 98.

    15                          (Whereupon,         Plaintiff's Exhibit

    16                 98 was marked for identification.)

    17                 Q        Could you take a look at what's

    18       been marked as Plaintiff's Exhibit 9 8.

    19                 A        Yes.

    20                 Q        Do you recognize that?

    21                 A        I    recognize the photograph now.

    22        I   see the barbells down here                (indicating).

    23                 Q        Right.

    24                 A        I don't remember seeing

    25        taking note of that that morning.



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         1                                                                    331
/   )                                         K.    J.   McCready

         2                 Q        Whether you recall or not

         3       making a note of it, the barbells were there

         4        in plain sight for you and any other police

         5        officer or detective who wandered through to

         6        see,   yes?

         7                 A        I guess so.

         8                 Q        And take your time,       look at it

         9        as long as you'd like.

        10                 A        Go ahead.

        11                 Q        We spoke yesterday about Arlene

        12        Tankleff's wounds and you indicated that you

        13
    )             went in and you observed the body,                correct?

        14                 A        Yes.

        15                 Q        Now,   again,   this is not the

        16        first time you've observed a body at a scene

        17        of a murder; is it?

        18                 A        No.

        19                 Q        You have training at this?               You

        20        have experience with this?

        21                 A        Right.

        22                 Q        I think you said you were

        23        involved in almost 300 homicides?

        24                 A        Yes.

        25                 Q        In this house,       there is the



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      1                                     K.   J.   McCready             332

'
./
      2        blood stains in the father's room,                correct?

      3                  A       Yes.

      4                  Q       And at the time you were doing

      5        the walk-thru the other evidence is the dead

      6        body of Arlene there,         correct?

      7                  A       Yes.

      8                  Q       In fact,    in terms of evidence

      9        in the house,      really Arlene's body is the

     10        most important thing there;              isn't it?

     11                          MR.    DUNNE:   I ' l l object to the

     12                  characterization but go ahead and

     13                  answer that.

     14                  A       Yes,    I guess.

     15                  Q       Sure.     You know that there's

     16        two people that have been attacked.                  There's

     17        no obvious -- There's a dead body.                 You're

     18        looking at the dead body,              right?

     19                  A       Right.

     20                  Q       You said you examined it

     21        closely enough to see the wound cut on her

     22        throat,   correct?

     23                  A       Yes.

     24                  Q       And,    of course,     the

     25        photographers who's just taking pictures of



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      1                                    K.   J.    McCready              333

      2        her,   they're not moving her around before

      3        they take the pictures,          right?

      4                 A        Right.

      5                 Q        They obviously take the

      6        pictures just as you find the person and

      7        then later on when the medical examiner

      8        comes she's moved,         correct?

      9                 A        Yes.

     10                 Q        So you can see what the

     11        pictures depict,         the front of her face,            her

     12        chest and so forth,         right?

-)   13                 A        Yes.

     14                 Q        You couldn't see her back;

     15        could you?

     16                 A        No.

     17                 Q        You couldn't see the back of

     18        her head or her back,         correct?

     19                 A        No.

     20                 Q        And we've talked a little bit

     21        about where the blows were on her head and

     22        remember yesterday I said to you that part

     23        of her left ear was actually smashed off?

     24                 A        Yes.

     25                          MR. BARKET:         Can I have this



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     1                                    K.    J.    McCready                 334
)
     2                 marked.

     3                          (Whereupon,      Plaintiff's Exhibit

     4                 99 was marked for identification.)

     5                          MR.   DUNNE:    This is an autopsy

     6                 photo if I       recall,      correct.

     7                          MR.   BARKET:        Yes,    it is.      Why

     8                 don't we do this one while we're at

     9                 it.

    10                          (Whereupon,       Plaintiff's

    11                 Exhibits 100 through 105 marked for

    12                 identification.)

    13                 Q        Have you seen the autopsy

    14        photographs?

    15                 A        No.

    16                 Q        You never looked at them?

    17                 A        No.

    18                 Q        Okay.    Let's do that.

    19                          MR.   DUNNE:     101 and 102.

    20                          MR.   BARKET:        Mr.    Dunne,    you've

    21                 seen the autopsy photographs,                  I take

    22                 it?

    23                          MR.   DUNNE:      I have,      yes.

    24                          MR.   BARKET:        You recognize

)   25                 these as the autopsy photographs?



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     1                                     K.    J.   McCready              335
)
     2                          MR.    DUNNE:    Yes,    I do.

     3                 Q        Let's start off with 100.              Take

     4        a look at that.          You see what's depicted

     5        there?

     6                 A        Sure.

     7                 Q        That's Arlene's head shaven,

     8        correct?

     9                 A        Yes.

    10                 Q        With a number of head wounds,

    11        correct?

    12                 A        Right.

    13                 Q        One being almost on her

    14        forehead in the top,         correct?

    15                 A        Yes.

    16                 Q        Several being on the left side

    17        of her head,      correct?

    18                 A        Yes.

    19                 Q        And one with her ear,            clearly,

    20        a piece of it missing from a blow,                 correct?

    21                 A        Yes.

    22                 Q        And,    in addition to that,          you

    23        know that there were wounds in the back of

    24        her head as well,         102,    right?

    25                 A        Yes.



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     1                                     K.    J.   McCready                336
)
     2                 Q        So when you're in the room

     3        and I showed you pictures yesterday of

     4       Arlene -- you're free,             and so was,      I   guess,

     5        Detective Sergeant Doyle or anybody else who

     6        went there,      to examine her and look at her,

     7        and you said you noticed her throat cut?

     8                 A        Yes.

     9                 Q        And whether you recall seeing

    10        it or not, there's nothing preventing you

    11        from seeing the obvious wounds to the left

    12        side and the top of her head; was there?

    13                          MR.    DUNNE:     I'm going to object
)
    14                 to the form of the question on a

    15                 number of grounds but go ahead and

    16                 answer it as best you can.

    17                 A        No.    As I pointed out to you

    18        yesterday,      that picture is taken with a

    19        flash.       I did not see that.

    20                 Q        Well, when you say it was taken

    21        with a flash,      I thought you said the

    22        lighting conditions in the room were

    23        excellent?

    24                 A        I said the lighting in that

    25        room was fine,      that he should have been able



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1                                     K.     J.    McCready           337

2        to see his mother when he originally

 3                 Q      But you,     as a trained homicide

 4        detective,    should not have been able to see

 5        that her ear was missing,               that her head was

 6        smashed in?

 7                        MR.    DUNNE:       I'm going to

 8                 object,      Counselor.         We went through

 9                 this for about 15 minutes here

10                 today.       I mean it's on the record.

11                 Q        In any event,          the information

12        there about her head wounds was available to

13        you; wasn't it?

14                 A      When?

15                 Q      At the time that you were

16        looking at her and at the time that you were

17        interrogating Marty.

18                 A        We didn't know what all her

19        wounds were.       I don't think we found that

20        out until 5 or 6 o'clock that night.

21                 Q        Well,   you didn't know about the

22        wounds in the back before 5 or 6 o'clock

23        that night,     right?

24                 A        I didn't know about -- The only

25        thing I observed,         to me,        is it looked like



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     1                                     K.   J.   McCready             338
)
     2        someone had just slashed her throat.

     3                  Q       The confession says,

     4        interestingly,      the confession says that he

     5        hit her about the head but it doesn't say

     6        anything about any wounds to her back,

     7        right?

     8                  A       No.

     9                  Q       Or to the back of her head,

    10        correct?

    11                  A       No.

    12                  Q       Clearly,   what was not available

    13        to you at the time that you were

    14        interrogating Marty is the wounds that she

    15        ended up being true that she had on her

    16        back,    right?

    17                  A       No.

    18                          MR.   DUNNE:     I   object to the

    19                  form.    Go ahead.

    20                  Q       You didn't know when you were

    21        interrogating Marty that her back was slit

    22        open; did you?

    23                  A       No.

    24                  Q       You didn't know when you were

    25        interrogating Marty that her back -- she had



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     1                                        K.    J.   McCready            339

     2        been stabbed; did you?

     3                 A        That she had been what?

     4                 Q        Stabbed in the back.

     5                 A        No,    only what he told me that

     6        he stabbed her.

     7                 Q        He didn't tell you he stabbed

     8        her in the back even according to you.

     9                 A        No,    oh,    no.

    10                 Q        The confession,           according to

    11        you,   only talks about blows to the head and

    12        her throat cut,         right?

)   13                 A        Yes.

    14                 Q        Because at the time that you

    15        interrogated him you hadn't seen,                 nor had

    16        any of the police officers seen the wounds

    17        on her back; had you?

    18                 A        Not that I'm aware of.

    19                          THE VIDEOGRAPHER:            Off the

    20                 record at 12:35 p.m.

    21                          (At this time,           a brief recess

    22                 was taken.)

    23                          THE VIDEOGRAPHER:            Beginning of

    24                 Tape 7.         We're back on record at

    25                 12:55 p.m.            You may proceed.



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     1                                     K.   J.    McCready               340
)
     2                 Q        Could I show you some autopsy

     3        photographs?       I'm referring now to 103,                 104

     4        and 105.

     5                 A        Yes.

     6                          MR. BARKET:          You've seen these

     7                 before,        right?

     8                          MR.    DUNNE:    I have,    yes.

     9                 They're our autopsy photographs.

    10                 Q        As it turns out, Arlene

    11        Tankleff had her right shoulder,              if you

    12        will,   was severely cut,         correct?

    13                 A        Yes.
)
    14                 Q        Kind of like from her middle of

    15        her back going one way or the other but all

    16        the way across her shoulder,              and she had

    17        several puncture wounds on her back as well,

    18        correct?

    19                 A        Yes.

    20                 Q        And we know from the autopsy

    21        report that there were actually blows to the

    22        back of her head as well,              correct?

    23                 A        Yes.

    24                 Q        None of those details, which

    25        would have only been known to the killer,



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 1                                      K.   J.   McCready              341

2        are in the confession; are they?

 3                 A      Not the specific wounds but the

 4       fact that he stabbed her,                it's in here.

 5                 Q      But what's in there is the

 6        information that was available to police at

 7       the time you're taking interrogation?

 8                 A      Well,       it was available to him.

 9       He's the one who did it.                 He told us.

10                 Q      According to you.            We talked

11        about this yesterday,          and I think we talked

12        about it with Detective Rein,               that you're

13        looking for information that would only have

14        been known to the killer.                You don't want

15        the confession to be a reflection of what

16        the police knew at the time; do you?

17                 A        No,   I   want to know

18                 Q        But isn't it true that that's

19        largely what we have here.                We have a

20        confession that reflects information that

21        was available to you,          Detective Rein,

22        Sergeant Doyle.

23                 A        No.

24                 Q        The knife,       the barbells,       the

25        location of the rooms,             the blows to her head



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    1                                    K.   J.   McCready              342

    2         and her throat cut, was all information that

     3       was available to the police at the time,

     4        right?    I'm right about that; aren't I?

     5                 A      Yes, to a certain extent, yes.

     6                 Q      And the information that was

     7        not available to you,        that she was attacked

     8        from the rear,      that the back of her head was

     9        smashed in, that her shoulder was cut in the

    10        back, that she was stabbed in the back,

    11        that's not in the confession; is it?

    12                 A        No.

    13                 Q      And the smudges -- the blood
)
    14        smudged on Marty's bedroom wall that turned

    15        out to be gloved prints; didn't it?

    16                 A        Not that I'm aware of.

    17                 Q        You're not aware that the

    18        smudge marks there had a pattern that

    19        indicated that somebody was wearing gloves?

    20                 A        Not that I'm aware of.

    21                 Q        Okay.   You really don't know,

    22        even as you sit here now, that the testimony

    23        at the trial was that there was gloved-like

    24        print on the wall next to the switch or

)   25        below the switch in Marty's room?               You're



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     1                                     K.   J.    McCready            343
)
     2        not aware of that?

     3                  A       I don't remember that.

     4                  Q       Okay.    Well,       in any event,

     5        we'll find out a little later if I'm right

     6        about that,       but that's not in the confession

     7        either;       is it?

     8                  A       What' s not?

     9                  Q       The killer wore gloves.

    10                  A       No.

    11                  Q       So what we have is a confession

    12        that contains information that was available

)   13        to the police at the time and no information

    14        that was not available to the police at the

    15        time.

    16                          MR.   DUNNE:     I'm going to object

    17                  to the form of that,           but you answer

    18                  that as best you can.

    19                  A        I don't know in retrospect

    20        where -- I mean i t ' s been a long time since

    21        I   thought about this,       but I don't know how

    22        much further we would have kept going with

    23        the written portion of his confession

    24        because we were stopped,           so I could not -- I

)   25        was precluded from asking him anything



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 1                                   K.   J.   McCready              344

 2        further,      even during the written,       if I

 3    I   wanted to continue that written.

 4                  Q       You had Marty from 7:40 until

 5        1:20,    right?

 6                  A       Right.

 7                  Q       So that's how many hours?           Is

 8        that almost six hours,          five hours and

 9        40 minutes?

10                  A       Yes.

11                  Q       You questioned him at the scene

12        repeatedly,       right?

13                  A       Yes.

14                  Q       You had Sergeant Doyle question

15        him.     You had Detective Rein question him,

16        right?

17                  A       Yes.

18                  Q       You brought him back to

19        headquarters,       correct?

20                  A       Yes.

21                  Q       You isolated him,     right?

22                  A       Yes.

23                  Q       Put him in a room,      right?

24                  A       Yes.

25                  Q       You questioned him for several



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     1                                     K.   J.   McCready             345
")
     2        hours in that room,         correct?

      3                 A       Yes.

      4                 Q       Your excuse now for not getting

      5       other details from him is you didn't have

      6       enough time with him?

      7                         MR.    DUNNE:    I'm going to object

      8                 to the form of the question and the

      9                 characterizations contained in

     10                 there,    but you go ahead and answer

     11                 that.

     12                 A       What I'm saying is,        I don't

     13        know what would have transpired had we had
)
     14       more time with him.          We may have developed

     15        that as we went along.           I don't know that

     16        because we were put on notice.             We could not

     17        talk to him anymore.

     18                 Q        You're not suggesting that

     19        after the body was turned over you could

     20        have asked him about the stab wounds in the

     21        back; are you?

     22                 A        We could have if he hadn't been

     23        lawyered up.

     24                 Q        Okay.    But the confession that

)    25        you say he gave you once you did the ruse



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     1                                    K.   J.   McCready              346
)
     2        and kind of broke him, he told you readily

     3        what, according to you, what happened,                yes?

     4                  A       Yes.

     5                  Q       And it was,     I think,   Rein said

     6        yesterday that it was in the form of a

     7        narrative according to you all,            right?

     8                  A       Yes, but as I pointed out to

     9        you earlier and on several occasions, they

    10        don't always tell you a hundred percent of

    11        what happened or the truth.

    12                  Q       How is it that what supposedly

    13        Marty said was only information that you
)
    14        all, the police,         knew about?     How did that

    15        happen?       How did the minimization and the

    16        lies that he supposedly told you only

    17        contain information that you knew?

    18                          MR. DUNNE:     Stop for a second.

    19                  I'm going to again object to the

    20                  content and the form of the

    21                  question.       Go ahead and answer that.

    22                  A       He told us what he told us.

    23        What can I tell you?

    24                  Q       One of the process -- Do you

    25        all have a process of how you -- the order



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     1                                   K.   J .   McCready              34 7
)
     2        in which you do things,         you take orals,           take

     3        a written,     take a videotape?

     4                 A      Yes.

     5                 Q      And that's the process that you

     6        go through,     right?

     7                 A      Yes.

     8                 Q      You do the orals first and then

     9        when you're satisfied with the orals you

    10        take the written;        is that right?

    11                 A      Yes.

    12                 Q      And then once you take the

    13        written,     you're satisfied with that,           you do
)
    14        the videotaping?

    15                 A      Yes.

    16                 Q      And you bring in a prosecutor

    17        for the videotape?

    18                 A      Yes.

    19                 Q      You did at the time anyway?

    20                 A      Yes.

    21                 Q      I notice that you didn't take a

    22        written statement from Marty about what took

    23       place,    according to him,        for the first four

    24        or five times he went through this,               right?

)   25                        You didn't reduce to writing



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     1                                     K.   J.   McCready             348
)
     2        him waking up,      finding his parents, calling

     3        911, helping his father and so forth,                right?

     4                 A        No.

     5                 Q        When he was telling you,          I

     6        guess,   over and over again what happened

     7        that morning,      that was not reduced to

     8        writing?

     9                 A        No.

    10                 Q        Why not?

    11                 A        Because it was in our notes so

    12        it is in writing.         I mean but it's not a lot

    13        of that other stuff that he told us and

    14        whatnot.     That wouldn't be in the form of a

    15        statement.

    16                 Q        Why wouldn't you take a written

    17        statement from somebody who's telling you

    18        what happened when they woke up in the

    19        morning and say, okay, here's your

    20        statement.     Just like you were planning to

    21        have Marty sign this thing that you were

    22        writing out for him,         referring to

    23        Plaintiff's Exhibit 97,           right?    You were

    24        planning to have him sign this,             yes?

    25                 A        Yes.



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     1                                     K.   J.   McCready             349

     2                 Q        Certainly, when you were

     3        writing it you left spots for him to

     4        initial, yes?

     5                 A        Yes.

     6                 Q        So why didn't you take a

     7        statement when he was telling you,                I woke

     8        up,   I think Jerry Steuerman did this.               My

     9        father -- I found my father.              Why didn't you

    10        take a written statement then?

    11                 A        Because that's not our

    12        procedure to do it that way.

    13                 Q        What do you mean that's not
)
    14        your procedure?

    15                 A        We take notes.

    16                 Q        Why didn't you write down this

    17        part.    This is all -- this stuff is all

    18        inculpatory.       It's all,      I did it.       When he

    19        said,   I did it,       you did not write that down?

    20                 A        Because that's the confession.

    21        These are the notes.

    22                 Q        Is it that you didn't believe

    23        him the first time?

    24                 A        No.

    25                          MR.    DUNNE:   Again,   I'm going to



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     1                                   K.   J.   McCready              350

     2                 object.       He answered the question.

     3                 Q      I get to ask another question.

     4        Did you not believe him so you did not want

     5        to write down the exculpatory information?

     6                 A      What are you talking about?

     7                 Q      At some point you decided to

     8        reduce what Marty was telling you orally?

     9                 A      Right.

    10                 Q      Not simply take a written --

    11        take whatever notes you all said were taken.

    12        But at some point you said,           I'm not just

)   13        going to write down on a pad what he said.

    14        I'm going to write out a written statement

    15        as to what he's saying so he can sign it.

    16                        By the way, when he signs it,

    17        he swears to it; doesn't he?

    18                 A      Yes.

    19                 Q      That's part of the process?

    20                 A      Yes.

    21                 Q      A notary comes in asking him to

    22        swear to tell the truth and you have him

    23        sign it,     correct?

    24                 A      We were notaries at the time.

    25                 Q      Okay,    and that's fine.



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 1                                     K.    J.   McCready             351

 2                          So if you had completed this

 3        you would have actually had him swear to the

 4        truth of this,        correct?

 5                 A        Yes.

 6                 Q        What I'm asking is,        why when

 7        he's telling you other things,              before he

 8        begins to make what you call admissions,                    why

 9        are those things not committed to writing

10        and he swears to those?

11                 A        Because they are only notes.

12        It's not a statement.             I'm not taking a

13        statement from him at that point in time.

14                 Q        I   know that you're not.         I'm

15        not being clear,         I'm sorry.

16                          I   know that you're not taking a

17        statement there.         What I'm asking you is,

18        why don't you?

19                 A        There is no reason to do that.

20        We have the notes.

21                 Q        But you have the notes of this

22        too.

23                 A        I have the notes of that.            I

24        have the notes of all the other stuff.                     The

25        non-inculpatory stuff,            we have all the



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     1                                     K.   J.   McCready             352
)
     2        notes.

     3                 Q        But why do you not reduce the

     4        non-inculpatory statements to a written

     5        statement, to a written statement that he

     6        would sign and swear to the truth of?

     7                 A        Because we just don't do that.

     8        That's not -- We don't do that.

     9                 Q        Is it that you did not believe

    10        what he was saying before that?

    11                 A        I didn't believe initially.              As
    12        I read my report,         you'll see that when we

    13        get to the point we didn't believe him and
)
    14        when I pulled the ruse on him,             as you call

    15        it,   that's when he rolled over.

    16                 Q        Right.     What would you call it?

    17        I called it a ruse.          Do you have another

    18        name for it?

    19                 A        No.     Well,   you know,   a lot of

    20        people would call it trickery and deceit but

    21        it's -- I don't know.             It's a ruse.

    22                 Q        It is what it is,       right?

    23                 A        Yeah.

    24                 Q        You lied to him and --

    25                 A        Yes.



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     1                                   K.   J.   McCready                 353

     2                 Q            and what happened happened.

     3        I guess at some point you decide to move

     4        from the orals that he was giving you that

     5        supposedly Rein is writing down to, okay, we

     6        have the orals now let's reduce the orals to

     7        a written statement, correct?

     8                 A      Yes.

     9                 Q      As far as you got -- You got

    10        pretty far into this,        right?     You got to the

    11        part where it says,       "I hit her four or five

    12        times in the head.        She fought with me.             I

    13        went to the kitchen,       got a knife.         I ran
)
    14        back with the knife.         I cut her throat.            I

    15        don't know how many times but I stabbed her

    16        also; mostly I cut her throat and neck,"

    17        right?

    18                 A      Isn't that what that autopsy

    19        shows.

    20                 Q      It shows the wounds.          This

    21        reflects wounds to her?

    22                        MR.    DUNNE:   Well,   objection to

    23                 the characterization.          The evidence

    24                 will speak for itself.

)   25                 Q      Does it say in here,        I stabbed



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     1                                    K.   J.   McCready             354
)
     2        her in the back.         I cut her shoulder.         I hit

     3        her in the back of the head?

     4                  A      No.

     5                  Q      Okay.    It reflects what was at

     6        least visible on Arlene as she was lying

     7        before she was turned over?

     8                         MR.   DUNNE:     I'm objecting to

     9                  the form of that question.             That's a

    10                  characterization of evidence.             The

    11                  evidence will speak for itself.                 You

    12                  can answer the question as best you

    13                  can.

    14                  A      Say the question again.

    15                         (The requested portion was read

    16                  back by the court reporter.)

    17                  Q      The written statement reflects

    18        what was visible on Arlene as she was lying

    19        there,   whether you remember seeing it or

    20        not,   true?

    21                         MR.   DUNNE:    My objection stands

    22                  again to that question as stated but

    23                  go ahead.

    24                  A      I think that encompasses,           based

    25        on the fact -- Let me see that a second,



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 1                                      K.    J.   McCready             355

 2        please.

 3                  Q        Sure.

 4                  A        When he says,         I   stabbed at her

 5        also.     Again,    he didn't tell us that he

 6        stabbed her in the back.                 He stabbed at her.

 7                  Q        You didn't know that she had

 8        been stabbed in the back when you were

 9        talking to him;          did you?

10                  A        Did I    know it?

11                  Q        Right.

12                  A        No.

13                  Q        No police officer knew;           did

14        they?

15                  A        Not that I'm aware of.

16                  Q        It was not visible to any

17        police officer; was it?

18                  A        Not that I'm aware of.

19                  Q        What I'm asking you about                 to

20        get back to my line of questioning,                 which is

21        that you got pretty far into this.                  You're

22        writing this down for him to swear to,

23        right?

24                  A        Yes.

25                  Q        So you made a decision to go



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     1                                      K.   J.   McCready             355

     2        please.

     3                  Q        Sure.

     4                  A        When he says,        I stabbed at her

     5        also.     Again,    he didn't tell us that he

     6        stabbed her in the back.                He stabbed at her.

     7                  Q        You didn't know that she had

     8        been stabbed in the back when you were

     9        talking to him; did you?

    10                  A        Did I    know it?

    11                  Q        Right.

    12                  A        No.

)   13                  Q        No police officer knew;          did

    14        they?

    15                  A        Not that I'm aware of.

    16                  Q        It was not visible to any

    17    I   police officer; was it?

    18                  A        Not that I'm aware of.

    19                  Q        What I'm asking you about                to

    20        get back to my line of questioning, which is

    21        that you got pretty far into this.                  You're

    22        writing this down for him to swear to,

    23        right?

    24                  A        Yes.

)   25                  Q        So you made a decision to go



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     1                                    K.   J.   McCready              356

     2        from the orals to the written and you're

     3        writing it out and you're writing it down as

     4        he's telling it to you, correct?

     5                 A        Yes.

     6                 Q        You're not challenging?

     7                 A        We're questioning him again,

     8        asking him questions.

     9                 Q        But you're not challenging him

    10        at all, you're not saying,            I don't believe

    11        this,   I don't believe that; are you?

    12                 A        No, not at that point.

)   13                 Q        Okay.   So what's happening, and

    14        this is kind of -- what's happening is after

    15        he makes these oral admissions,            you're then

    16        documenting what it is, what you believe to

    17        be his inculpatory statements,            right?

    18                 A        Yes.

    19                 Q        You're going to write it out

    20        for him,     right?

    21                 A        Yes.

    22                 Q        And then you're going to

    23        videotape him saying the same things?

    24                 A        Yes.

    25                 Q        So what we'll end up with and



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     1                                    K.   J.   McCready              357

     2        you've done this hundreds of times,                right?

     3                 A        Yes.

     4                 Q        You have a set of orals,          right?

     5                 A        Uh-hum.

     6                 Q        You have whatever notes you

     7        have on the orals.          You can testify to the

     8        orals,   right?     Then you have a written

     9        statement,    right?     And that's going to

    10        reflect -- What was in the orals but it will

    11        be written out in the first person,                correct?

    12                 A        Yes.

)   13                 Q        First person being Marty

    14        Tankleff,    I did this and I did that,             right?

    15                 A        Yes.

    16                 Q        And then you're going to have a

    17        videotape that's going to repeat what was in

    18        the written statement and what was in the

    19        orals?

    20                 A        Yes.

    21                 Q        So when you're saying that you

    22        didn't know what was going to come had you

    23        had more time with him --

    24                 A        I don't know.

)   25                 Q        -- nothing would have come of



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     1                                   K.    J.       McCready            358
)
     2       it,   you would have just repeated what was in

     3       the orals or what was in the written?

     4                         MR.   DUNNE:     I'm going to object

     5                 to the form and the suggestions.                    Go

     6                 ahead answer the question part of

     7                 that.

     8                 A       If we were not put on notice,

     9       we could have had Marty there for 24 hours

    10       and kept talking to him.

    11                 Q       What would you have done with

    12       him after you had taken a written statement

    13       from him?

    14                 A       Well,   we would have waited t i l l

    15       we found out what we did find at the scene

    16       there and then asked him questions about

    17       that.

    18                 Q       And then that would have been

    19       incorporated into the statements?

    20                 A       Most definitely.

    21                 Q       Okay.    All right.

    22                         MR.   BARKET:        I   think that's a

    23                 good spot to break.               We'll come back

    24                 after lunch.

)   25                         THE VIDEOGRAPHER:            Going off



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    1                                    K.   J.   McCready               359
)
    2                  the record at 1:11 p.m.

     3                          (At this time, a recess was

     4                 taken in order to accommodate a

     5                 lunch.)

     6                        THE VIDEOGRAPHER:         Back on

     7                 record at 2:06 p.m.           You may

     8                 proceed.

     9       CONTINUED EXAMINATION BY

    10       MR. BARKET:

    11                 Q      Good afternoon,        Detective.          Mr.

    12       McCready,     sorry.

    13                 A        Detective is fine.

    14                 Q        Okay.   I want to -- I just ask

    15        you, you said there are six people on your

    16        team or were six people on your team at that

    17        time?

    18                 A        Seven counting the sergeant.

    19                 Q        Okay.   Who were they?

    20                 A        Norman, myself, Bob was the

    21        sergeant, John Pfalzgraf, Mike Carmedi,

    22        Bobby Anderson, and I forgot who -- Maybe

    23        somebody knows.

    24                          MR. BARKET:        Anybody refresh

    25                 his memory?       I don't want to leave a



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 1                                   K.   J.    McCready             360

 2                 blank for just this.

 3                 A       Tony Ligaza,        that's right.

 4                 Q       Thanks.    At the time Detective

 5       Rein was your partner,           right?

 6                 A       Yes.

 7                 Q       Was he your partner till you

 8       retired?

 9                 A       Yes.

10                 Q       Who was your partner before

11       that?

12                 A       Bill Mahoney.

13                 Q       In homicide,        right?

14                 A       Yes.

15                 Q       How about before that?

16                 A       In homicide?

17                 Q       Yes.

18                 A       Tommy Gill.

19                 Q       Anybody else as a partner in

20   I   homicide?

21                 A       Not that I remember.

22                 Q       I'm going to ask you some

23       questions,     if I can,    about the Diaz case.

24       Do you remember that?

25                 A       Yes.



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     1                                    K.   J.   McCready           361

     2                 Q        Okay.   Just to -- Again,         like I
     3        said yesterday,      I'm not making allegations,

     4        I'm asking you about them.

     5                 A        Okay.

     6                 Q        And so I want to do that,          kind

     7        of to lay the background.             That was a murder
     8        case?    Diaz was charged with murder?

     9                 A        Yes.

    10                 Q        And at some point in time you

    11        were involved in interviewing witnesses; is

    12        that right?

)   13                 A        Yes, not witnesses to the

    14       murder but witnesses.

    15                 Q        Witnesses,     right.

    16                 A        Yes.

    17                 Q        I guess Judge Nan ended up
    18        concluding, right,        that he believed that you

    19        had committed perjury in some fashion; is

    20        that right?

    21                          MR. DUNNE:      I'll object to the

    22                 form.     I'm not sure that's correct

    23                 but for our purposes, go ahead.

    24                 A        Well, as you pointed out,

    25        everybody is entitled to believe what they



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    1                                        K.   J.   McCready            362
)
    2        want to believe, but I did not commit

     3       perjury.

     4                 Q          I want to lay the foundation

     5       and then we'll get into the details of it.

     6                            I think Judge Nan concluded

     7       that he did not find your testimony credible

     8       in some regard; is that right?

     9                 A          That's right.

    10                 Q          And as a result of that,          in

    11   I   part and some other things, there was a

    12       referral made to the State Investigation


3   13

    14
             Commission?

                       A          Yes.

    15                 Q          And they actually did an

    16        investigation.            And again,     just to lay the

    17       background, they also concluded that you

    18        were -- I think they actually used the

    19        term         Well

    20                            MR.    DUNNE:    They did.

    21                 Q          They actually used the term

    22        perjury in connection with your testimony

    23        there?

    24                 A          I know they did, but I don't

)   25        care what they think.



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    1                                      K.   J.   McCready           363
)   2                  Q      In that instance,          you had a

    3        judge and an independent State investigative

     4       body saying that you committed perjury in

     5       the course of testifying in a murder case?

     6                 A      That's correct.

     7                 Q      Now,      let's talk a little about

     8       the details of what happened there.                 And

     9       correct me if anything I say is wrong,                of

    10       course,    but you were interviewing some

    11   I   witnesses,     some

    12                 A        Railroad workers.

    13                 Q        Railroad workers.         And there

    14   I   was some question,          was there not,       about how

    15   I   they identified Mr.          Diaz,      right?

    16                 A        Yes.

    17                 Q        Okay.     And if I understand it

    18       correctly,     you initially reported to the

    19       DA's office and testified that they

    20       identified him from a newspaper article that

    21       contained Mr.       Diaz's photograph;           is that

    22        right?

    23                 A        That's correct.

    24                 Q        And you knew at the time that

)   25       part of your job as a detective is to



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     1                                    K.   J.   McCready               364
)
     2        conduct identification procedures,               right?

     3                 A        Yes.

     4                 Q        And unlike what they -- and

     5        identification procedures is something you

     6        need to be trained to do,             right?

     7                 A        Yes.

     8                 Q        Unlike what they do on TV,           you

     9        just don't show a Polaroid to somebody and

    10        say,   is this the guy and they say yes.

    11        There is actually processes you have to go

    12        through.

    13                          Yes, but there is
)                      A

    14                 Q        Well, there's some training

    15        involved in this,        yes?

    16                 A        Yes.

    17                 Q        And part of what happens is,              if

    18        there are identification procedures,               I think

    19        this was true even in the eighties, you have

    20        to give -- not you but law enforcement,                    the

    21        DA's office specifically, has to give notice

    22        of those identification procedures to the

    23        defense?

    24                 A        With regard to Wade situation,

)   25        I would think so.         I don't necessarily think



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     1                                    K.   J.    McCready          365

     2        so in a confirmation identification process.

     3                  Q       Okay.    You're actually correct,

     4        right,   that there are some instances where

     5        you do a line-up or a photo pack where

     6        you're showing a photograph of an individual

     7        that's not known to the person and asking

     8        him to identify them.            Those have to be

     9        notified        Those procedures have to be

    10                 A        Right.

    11                  Q          noticed.         The defense has to

    12        be given notice of them,           right?

)   13                 A        Yes.

    14                  Q       But if you're just showing a

    15        picture to confirm that you're both talking

    16        about the same person and the witness knows

    17        the individual,      then you don't?

    18                 A        Right.

    19                  Q       Right.    So what happened here

    20        was,   I guess you reported and ended up

    21        testifying,     that the witnesses had

    22        identified Mr.      Diaz from newspaper

    23        photographs,      right?

    24                 A        That was my belief at one

)   25        point,   yes.



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     1                                     K.    J.   McCready            366
)
     2                  Q       Okay.     So that's what you

     3        testified to,       right?

     4                  A       Yes.

     5                  Q       And then,       when it became

     6        apparent that there was no newspaper

     7        photographs ever published of the

     8        individual,     you came back and testified that

     9        that was a mistake,          right?

    10                  A       Yes.

    11                  Q       And that what,        in fact,    had

    12        happened is you had shown them a single

    13        picture of Mr.       Diaz and they identified him

    14        from that picture?

    15                  A       Yes,    they did.      Let me go back

    16        a little bit here.           What happened was they

    17        told me that they saw him in the newspaper.

    18        Now,    you both know when you assume something

    19        you make an ass out of you and me,                 right,   so

    20        my mistake was I assumed that they saw his

    21        picture in the paper.

    22                          When I spoke to them about it,

    23        they said they saw him in the newspaper

    24        when,    in fact,    they actually only saw his

    25        name in the newspaper but they knew him.



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     1                                    K.    J.   McCready          367
)
     2                          And I   showed them one

     3        photograph of Diaz and I said,             is this the

     4        guy you're talking about and they all three

     5        said yes.

     6                  Q       Okay.    When you testified

     7        initially,     did you testify that they had

     8        identified -- Did you testify about that

     9        single photograph that you showed to them or

    10        did you just tell the court about the

    11        newspaper?

    12                  A       I did yes,      I did.   I turned

    13    I   around and told them.

    14                  Q       Well,   no,    initially,   before it

    15        was discovered that the photographs weren't

    16        in the paper

    17                  A       No.

    18                  Q       -- did you tell the court about

    19        the single photograph?

    20                  A       No.

    21                  Q       So that what happened was --

    22        and I think we all agree on kind of the

    23        sequence here -- is that you testified that

    24        the witnesses identified the individual from

)   25        a newspaper photograph,           yes?



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-)    1                                       K.   J.   McCready             368

      2                  A       Yes.

      3                  Q       But initially you didn't tell

      4        the court about the photograph that you

      5    I   showed them,      correct?

      6                  A       No.

      7                  Q       When you say no,         I'm wrong or

      8        I'm correct that you did not do that?

      9                  A       No,    no,   I did that.     Yeah.

     10                  Q       Let me back up again,         sorry.

     11        That initially you told the court only about

     12        the newspaper identification?

)    13                  A       Right.

     14                  Q       You did not tell them,            the

     15        court,   about the single photograph you

     16        showed the witness initially; am I correct?

     17                  A       Right.

     18                  Q       And then it was discovered that

     19        the newspaper did not have a photograph in

     20        it,   true?

     21                  A       Yes.

     22                  Q       And then you went back to court

     23        and testified that you said,               I actually did

     24        show them a single photograph,               correct?

)    25                  A       Yes.



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      1                                      K.    J.   McCready         369
 )
      2                 Q         And your testimony is that that

      3        was confirmatory,          right?

      4                 A         Yes.

      5                 Q         Not that you were trying to

      6        hide an improper identification procedure?

      7                 A         No,    I was not.

      8                 Q         And you would agree with me

      9    I   that kind of cutting corners or fooling with

     10    I   identification procedures would be quite a

     11    I   problem; wouldn't it?

     12                           MR.    DUNNE:     I ' l l object to the

                         form of the question but go ahead
 )   13

     14                  and answer that.

     15                 A         That would have been a problem

     16        had it been a Wade issue,                but it wasn't.

     17        Like you said,           it was a confirmatory

     18        identification.           Once the railroad workers

     19        knew him from him sleeping on the train so

     20        it's like me if I go back to Hauppauge and

     21        somebody says,           do you know Bruce Barket?         I

     22        said yeah,     I   just recently met him.           Oh,   is

     23        that him?      Yeah,       that's him.

     24                  Q        Oh,    I'm just curious why didn't

()   25        you just tell the court about that if it was



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     1                                        K.   J.    McCready              370
)
     2        just a regular old

     3                  A       I    wasn't asked until after --

     4        t i l l Mr.   Gianelli asked me.

     5                  Q       Nobody asked you if you had

     6        shown a single photograph to the witnesses?

     7                  A       No.

     8                  Q       And i t kind of moved to the

     9        general,      for a moment anyway,            I may come

    10        back to the details,            but what I      was saying

    11        is identification testimony is fairly

    12        important testimony,            right?


)   13                  A       Yes.

    14                  Q       And often times you have

    15        witnesses who don't know an individual or

    16        only have seen them once or twice and you

    17        have to do these identification procedures,

    18        right?

    19                  A       Yes.

    20                  Q       And in those cases i t really is

    21        a problem to show a single photograph to a

    22        witness;      isn't it?

    23                          MR.     DUNNE:      I ' l l object to the

    24                  form of the question but go ahead.

)   25                          MR.     BARKET:         Actually,    he's



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          1                                    K.    J.   McCready             371
I.~:·)
          2                  right.     Let me withdraw the

          3                  question.

          4                  Q        It's improper -- you know it to

          5        be improper to show a single photograph to a

          6        witness who is a stranger to a suspect;

          7        don't you?

          8                  A        It only depends if it's a --

          9        Bruce Barket did the murder and you show

         10        them one photograph of Bruce Barket.                 That

         11    I   would be improper.         But if I      showed him five

         12    I   photographs and said, which one is the guy

         13    I   you're talking about,          and they say that guy,

         14    I   then it's part of a Wade issue and therefore

         15        that becomes a valid photo spread and et

         16        cetera,    et cetera,     et cetera.

         17                  Q        And then,     I think we're saying

         18        the same thing.        And the reason why it would

         19    I   be improper to show the single photograph of

         20    I   the suspect to a witness is that it ends up

         21    I   suggesting to the witness that the

         22    I   perpetrator is the person in the photograph

         23        and the perpetrator -- excuse me.

         24                           Let me start again.        The reason

   )     25        why it would be improper to show a single



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     1                                     K.    J.   McCready            372

     2        witness a single photograph to a witness is

     3        that it is suggestive;            is that right?

     4        That's the phrase that's used?

     5                  A       Yes.

     6                  Q       Right.     We want the witness to

     7        tell us what they remember and who they

     8        think committed the crime,                right?

     9                 A        Well,    see this is where you and

    10        I are going to have a little problem because

    11        they didn't witness any crime.

    12                  Q       Well,    whatever they are a

)   13        witness to.

    14                 A        They're a witness to him

    15        sleeping on the railroad train that was it.

    16                  Q       Okay.     But I'm not talking

    17        about that case in particular.                 I'm talking

    18        generally.

    19                 A        Oh,    yeah,    fine.

    20                  Q       The reason why it's improper to

    21        do that is because we don't want the witness

    22        to make an identification based upon a

    23        suggestion by the police officer,                  right?

    24                 A        Right.     Well,      especially if

)   25        they're a witness to the crime.



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     1                                        K.    J.   McCready           373

     2                  Q       Right.        And you don't want to

     3        show a single photograph because it would

     4        end up tainting the witness's testimony

     5        they might end up -- Is that true?

     6                  A       Yes.     It could be in a

     7        situation that I'm talking about with regard

     8        to you or somebody witnessing you do a crime

     9        and I only show them one picture, that's

    10        wrong.        That's improper.

    11                  Q       And we agree.

    12                  A       They didn't witness any crime.

    13                  Q       Well,    actually,         the prohibition

    14        against showing a single photograph to a

    15        witness applies whether or not the person

    16        witnessed a crime or is identifying the

    17        subject in the courtroom for some other

    18        reason,       right?

    19                  A       No.     No.        I don't think so.        I

    20        don't believe that's the case.

    21                  Q       Okay.     Well, you think that if

    22        a witness is going to come into the

    23        courtroom and identify the Defendant and

    24        say,   I saw the Defendant do X, even if X

)   25        wasn't a crime, that you can then suggest to



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     1                                                                    374
)                                         K.   J.   McCready

     2        the witness who the Defendant is?

     3                  A       Like I said, this was a

     4        confirmatory identification.             They knew him.
     5                  Q       And I'm not disputing that

     6        right now.      We're not talking about that.
     7        I'm talking generally speaking, right,                you

     8        said we agree that it would be improper to

     9        show a single photograph to a witness,

    10        right?

    11                  A       It depends on the

    12        circumstances.

    13                  Q       Say a witness who's a stranger

    14        to the suspect?

    15                  A       Yes.

    16                  Q       That would be improper.           And

    17        the reason why it would be improper is that

    18        the witness may end up making identification

    19        of the Defendant not based upon their

    20        independent memory but based upon the single

    21        photograph a police officer showed them?

    22                 A        Yes, but they've had --
    23                  Q       We're not talking Diaz,          just

    24        generally speaking.

    25                 A        Oh, right,     yes.



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     1                                      K.    J.   McCready           375

     2                 Q      That's true?

     3                 A      Yeah.

     4                 Q       For a police officer -- I'm not

     5        saying you did this or frankly didn't do it,

     6        I wasn't there           but for a police officer

     7        to engage in that kind of improper conduct

     8        it would be a serious misstep by the officer

     9        or detective; would you agree?

    10                         MR. DUNNE:          I'll object to the

    11                  form of the question but go ahead

    12                  and answer that.

)   13                  A      Yes.

    14                  Q        That making sure --

    15                  A      We're not talking about the

    16        Diaz case here.

    17                  Q        Correct.        I'm not saying you

    18        did or didn't do anything improper.

    19                  A        Right.

    20                  Q        But conducting identification

    21    I   procedures and showing witnesses

    22    I   photographs,       lying about that would be an

    23    I   egregious act of misconduct by an officer;

    24        would you agree?

)   25                           MR. DUNNE:        I'll object to the



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      1                                     K.   J.   McCready             376

      2                 form but go ahead.

      3                 A      Yes.

      4                 Q      And it would be -- I mean just

      5        to draw an analogy,         it would be just as bad

      6        about lying about how you obtained a

      7        confession from a suspect.

      8                        MR.      DUNNE:   Again,    I object to

      9                 the form of the question.

     10                 A        No.     You're talking apples and

     11        onions here.       In a Wade situation,           I would

     12        have done a photo spread.              What we're

)    13        talking about is a confirmation ID here and

     14        it has nothing to do -- there is no

     15        comparison between a confirmation

     16        identification and a confession.

     17                  Q       Not saying that there is.             I'm

     18        saying that if a detective or police officer

     19        were to lie

     20                  A       Yes.

     21                  Q       -- about how they conducted an

     22        identification procedure,              that act of lying

     23        about eyewitness identification would be

     24        just as bad as lying about a confession?

_)   25                          MR.    DUNNE:    I'm going to object



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.)    1                                     K.   J.   McCready              377

      2                  to the form.       That's kind of a

      3                  suggestive statement.

      4                 A        That would be common sense,

      5        yes.

      6                  Q       Of course,      right?

      7                 A        Yes.

      8                  Q       You don't want detectives lying

      9        about how they are conducting important

     10        parts of an investigation?

     11                 A        That's right.

     12                  Q       Be it how they take confessions

     13        or how they do identification procedures?

     14                 A        That's right.

     15                  Q       If a detective is willing to

     16        lye about one,      you might think they are

     17        lying about the other?

     18                 A        Yes,    you can draw an inference

     19        but that's not --

     20                 Q        You're saying that's not what

     21        you did with Diaz?

     22                 A        No.
     23                 Q        Okay.     In the course of your

     24        preparation for Diaz and the testimony,                    did

)    25        any prosecutor ever ask you if you showed a



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     1                                    K.   J.    McCready            378
)
     2        single photograph to a witness?

     3                 A      No.

     4                 Q      One of the things that I want

     5    I   to talk to you about,        and I think that --

     6    I   Crime scene photographs and showing those to

     7        witnesses.

     8                 A       Yes.

     9                 Q       Did you do that in the Martin

    10        Tankleff case?

    11                 A        I may very well have.

    12                  Q      When we're talking about crime

              scene photographs,        I'm talking about some of
)   13

    14        the kind of rather graphic pictures of the

    15        mother or the blood.         Did you show those

    16        kinds of pictures to civilian witnesses in

    17        this case?

    18                  A       I may have.

    19                  Q       Well,   the attorney general's

    20        office who conducted the investigation after

    21    I   Marty's case was reversed,             after his

    22    I   conviction was reversed,              indicated that in a

    23    I   memo to the court,        and one of the reasons

    24        why they decided not to go forward with any

)   25        prosecution of Martin Tankleff,              specifically



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     1                                     K.    J.   McCready             379

     2        sited misconduct on your part in showing

     3        photographs to witnesses; do you remember

     4        that?

     5                          MR.    DUNNE:     I ' l l object to the

     6                  form of that.           Go ahead and answer

     7                  that.

     8                  A       I remember that but they're

     9        wrong.     I mean we use photographs all the

    10        time in investigative tools.

    11                          Now,    I was asked why did I         show

    12        McNamara photographs.             To be honest with

)   13        you,    I don't remember.           I don't remember.            I

    14    I   don't know what the question was or what the

    15    I   situation was, but showing a crime scene

    16    I   photo to an individual there's nothing wrong

    17        with that.        We use them as investigative

    18        tools.     But I don't know what I was trying

    19        to glean from maybe Mr. McNamara or

    20        whatever.      I don't remember that whole

    21        conversation with McNamara about that.                      It

    22        was so insignificant,             I don't remember.

    23                  Q       Well,    also,    Dan Hayes reports

    24        that you showed him a crime scene photograph

)   25         just before his testimony in the criminal



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     1                                     K.   J.   McCready             380


     2        trial as well.           You brought him into the

     3        evidence room and showed him crime scene

     4        photographs; is that true?

     5                 A      Not that I'm aware of.              I don't

     6        remember showing him.             The only one I

     7    I   remember showing photographs to is McNamara

     8        and I would be dammed if I could remember

     9        why.

    10                 Q       Well,     the graphic photographs,

    11        some of which we've looked at here, and all

    12        of us,   I guess,        except for the court

)   13        reporter who understandably is kind of

    14        revolted by them, what possible

    15        investigative tool could you think of for

    16        showing McNamara --

    17                  A        I don't remember.        If I

    18        remembered,     I'd tell you.

    19                  Q        Can you think of any proper

    20        reason for doing that?

    21                           MR.   DUNNE:     I'll object to the

    22                  characterization in the question but

    23                  go ahead and answer.

    24                  A        I don't know why I showed him

)   25        the photograph.



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     1                                    K.   J.   McCready              381
)
     2                  Q       There were          Did you show

     3        crime scene photographs to any of the

     4        Tankleff family?

     5                  A       Not that I remember.

     6                  Q       Shari Rother?

     7                  A       Not that I remember.

     8                  Q       Ron Rother?

     9                  A       Not that I remember.

    10                  Q       There were some civilian

    11        witnesses who testified about statements

    12        that Marty had made over the course of the

    13        summer.       Apparently, Marty was bragging
)
    14        about his wealth;         is that right?

    15                  A       Yes.

    16                  Q       There were a couple of girls,

    17        right,    who had said he was kind of bragging

    18        about how rich he would be or how rich his

    19        parents were;       something like that?

    20                  A       Yeah,   words to that effect.

    21        That he would be rich if his parents were

    22        dead or something like that.

    23                  Q       Actually,      and they testified to

    24        something along those lines that Marty was

)   25        saying,       if my parents weren't around I could



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     1                                    K.   J.   McCready               382
)
     2        have any car I wanted or any house I wanted

     3        or something like that?

     4                 A       Yeah,   something like that.

     5        Yes.

     6                 Q       Did you show those girls crime

     7        scene photographs?

     8                 A       Not that I      remember.

     9                 Q       Let's just take it out of the

    10        Martin Tankleff case for a second,                 and I

    11        want you to assume two things.               A,    that

    12        there are graphic pictures and B,                 that the

    13        witness had nothing to do with the crime

    14        scene.       In other words,     they didn't witness

    15        the crime,      there was no need to show them

    16        crime scene photographs to document or have

    17        them testify about where things happened.

    18                          Can you think of any legitimate

    19        reason why you would show crime scene

    20        photographs to civilian witnesses?

    21                          MR.   DUNNE:    I object again to

    22                  the parameters of the question.

    23                  Q       Not McNamara.        I   know you say

    24        you don't remember McNamara.               I'm saying

)   25        generally is there any or legitimate reason



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     1                                     K.   J.    McCready              383
)
     2        for doing that?

     3                          MR.    DUNNE:    I object to the

     4                  form of the last two questions.                    Go

     5                  ahead,    Detective.

     6                 A        We use crime scene photographs

     7        as investigative tools.

     8                  Q       How?

     9                 A         It depends on the

    10        circumstances.          I don't know.       It depends --

    11        I don't remember why I showed McNamara that

    12        photograph.        What do you think I run around,

    13        hey guys,     look at this,       look at this.         No,

    14        you don't do that.

    15                  Q       No,    I guess the implication

    16        from the attorney general's office is that

    17        you're using it to push the witnesses to

    18        color their testimony in a way that would be

    19        helpful to the prosecution to get them on

    20        your side.

    21                          MR.    DUNNE:   Again,     is that a

    22                  question or a statement?

    23                          MR. BARKET:          That's a question.

    24                          MR.    DUNNE:   Well,     is the

)   25                 question did you do that?



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     1                                     K.   J.   McCready              384
)
     2                  Q        Is that the motivation for

     3        doing that?

     4                 A        No.

     5                  Q        Did you show pictures to the

     6        civilian witnesses and say to them,                 look

     7        what this kid did;         look what we have to say

     8        to them,      your testimony is important,            we

     9        have to put this murderer away?

    10                 A        No.

    11                  Q       You're certain of that?

    12                  A       Absolutely certain.

    13                  Q       You're as certain about that as

    14        you are about the way the confession was

    15        taken?

    16                  A       Yes.

    17                  Q        If we were to find out that you

    18        were not being truthful about showing the

    19        crime scene photographs to the civilians,

    20        should we also doubt your word about how the

    21        confession was taken?

    22                          MR.    DUNNE:   Objection.        C'mon

    23                  Bruce,    that's not a fair question.

    24                  That's for the purpose of eliciting

)   25                  facts.



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     1                                    K.   J.   McCready              385

     2                  Q       It's reported that you showed

     3        crime scene photographs to a number of

     4        different civilian witnesses and you're

     5        saying the only person you remember is

     6        McNamara?

     7                  A       The only one I remember showing

     8        it to was McNamara.

     9                  Q       But you said you did this as a

    10        matter of routine,        you used crime scene

    11        photographs?

    12                          MR.   DUNNE:   Again,    I object to

    13                  the characterization of the

    14                  question.      Go ahead and answer that.
    15                  A       We use crime scene photographs

    16        as investigative tools.

    17                  Q       I guess I'm asking you -- Look,

    18        give me any or give us any legitimate reason

    19        for showing crime scene photographs to

    20        witnesses?

    21                          MR.   DUNNE:    I object to the
    22                  form of the question.           Go ahead.
    23                 A        I don't know how many times I

    24        gotta tell you.         It depends on what's going

)   25        on.    We use them as investigative tools.



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         1                                    K.    J.   McCready            386

         2        Now,    I don't remember why I used that

         3        particular photograph or what photographs I

         4        even showed McNamara but the bottom line is

         5        I don't run around showing pictures just for

         6        the hell of showing pictures.

         7                  Q      This isn't just me asking these

         8        questions,     and the attorney general's office

         9        wrote this and I'm going to ask you if you

        10        read this.

        11                          "The behavior of one of the

        12    I   detectives in the case,           Detective James

        13        McCready,     retired, was problematic in this
    )
        14        case.     The evidence that we have collected

        15        shows that he showed crime scene photographs

        16        to witnesses when there was no legitimate

        17        law enforcement reason for doing so."

        18                          Can you --

        19                  A       You know,      that's the attorney

        20        general's office,        right?

        21                  Q       Yes.

        22                  A       I ' l l be honest with you,       I

        23        don't give a damn what they think.                 That's

        24        what they think.         They have no idea.          They

)       25        weren't there.       They weren't shown the



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         1                                        K.   J.   McCready          387
    )
         2        photographs.        I think -- You don't want to

         3        know what I think.

         4                  Q       Well,     I   just asked you what you

         5        thought.        Whether I want to know or not,

         6        feel tree to answer.

         7                  A       That's not what I'm talking

         8        about,    not with regards to that question.

         9        I'm talking what I think about some other

        10        things,       that's all.

        11                  Q       Look,     I mean you had a job to

        12        do back then,       right?

)       13                  A       Yes.

        14                  Q       You had a job to do,          you

        15        thought Marty Tankleff killed his parents,

        16        right?

        17                  A       Yes.

        18                  Q       And you thought that if you had

        19        shown crime scene photographs to individuals

        20        you would have done so in furtherance of

        21        your investigation in the prosecution of

        22        this case; is that right?

        23                  A       Yes.

        24                  Q       You were doing it because you

)       25        thought it would help the case,                yes?



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     1                                         K.   J.   McCready               388

     2                 A      I don't know why.               I   don't

     3        know.    Whoever said I            showed them

     4        photographs,       I     think I      would remember it but

     5        I   don't remember.           The only one I        remember

     6        showing photographs to is McNamara.

     7                 Q      That's not the question.                    The

     8        question I     asked you was,              if you were doing

     9        it,   and I   guess you were at least to

    10        McNamara,     you were doing it because you

    11        thought it would help the prosecution of

    12        Marty Tankleff,           right?

    13                         MR.       DUNNE:      Again,       object to
)                                                             I

    14                  the form of the question but go

    15                  ahead.

    16                 A        I don't know whether it would

    17        have helped or hurt, but obviously I don't

    18        remember why McNamara -- why he wanted to

    19        see something.            I don't remember why I

    20        showed it to him.

    21                  Q       You said before that you

    22        weren't just showing photographs.

    23                  A       Right,       but I don't remember the

    24        back and forth between me and McNamara or

)   25        why the crime scene photographs even came



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      1                                                                 389
~)
                                           K.    J.   McCready

      2        up.

      3                          If I had had photographs,          I

      4        might have even asked Marty to initial some

      5        of them.

      6                  Q       That would have been a

      7        legitimate

      8                  A       That's something if he didn't

      9        get lawyered up,        as I said before,         if we had

     10        him for 24 hours we could have confirmed

     11        more and more and more.

     12                  Q       You would have gathered more

)    13        information and put more information into

     14        the confession?

     15                  A       I would have tried to elicit

     16    I   more information from him but I couldn't.

     17                  Q       At the point in time that you

     18        were taking the oral statements,             you were

     19        done taking the orals,           right?    Nobody

     20        interrupted?

     21                 A        Up to that point.

     22                  Q       Nobody interrupted you.           Nobody

     23        stopped you from questioning further at that

     24        point?

)    25                 A        No.



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     1                                   K.   J.   McCready              390

     2                 Q      You were done with the orals

     3        and you decided to move to -- let me finish

     4        my question -- you were done with the orals

     5        and you decided to move from the oral

     6        statements, move from that phase to writing

     7        out the written statements?

     8                 A       Yes.

     9                 Q       So it's the written statement

    10        that was interrupted, not the oral

    11        statement, correct?

    12                 A       Right.

    13                  Q       I want to go back to the crime

    14        scene photographs if I can.            It also says in

    15        here -- I'm reading from the attorney

    16        general's memo to the court dismissing the

    17        case against Marty Tankleff, and I want you

    18        to comment on this.

    19                          "Detective McCready acted alone

    20        when he showed photographs to others.                 Based

    21        upon our investigation, no other law

    22        enforcement representative with whom we met

    23        from either the Suffolk County Police

    24        Department or the Suffolk County District

)   25        Attorney's office was aware that Detective



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     1                                    K.   J.   McCready            391

     2        McCready had engaged in such a behavior and

     3        all of them stated that it was improper.

     4                         Detective McCready himself

     5        recognized that it was improper.              He told

     6        one witness that he was behaving improperly

     7        even as he showed the photographs to that

     8        witness."

     9                         There's two parts of that that

    10        I want to ask you about.              The first part is

    11        that according to the attorney general's

    12        office, that fellow police officers and

    13        people at the DA's office agreed that you

    14        showing these photographs was improper.

    15                           I'll give you a chance to

    16        respond to that.

    17                  A        I don't know who you're talking

    18        about.     I don't have no idea who you're

    19        talking about.        The only person I remember

    20        showing a photograph to is McNamara and I

    21        don't remember why.

    22                  Q        I'm not talking about McNamara.

    23        I'm talking about the attorney general's

    24        office having interviewed people from the

)   25        Suffolk County Police Department, other



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     1                                    K.   J.   McCready              392

     2    I   members of your squad,           other members of the

     3        District Attorney's office.             They said they

     4        didn't know you were doing it and that doing

     5        so was improper.

     6                          MR.   DUNNE:    I'm going to object

     7                  to the form.

     8                  Q       Do you have a comment on that?

     9                  A       No,   I have no comment.         I have

    10        no idea.

    11                  Q       They also said that when they

    12        asked you about it you had recognized that

)   13        it was improper.

    14                  A       I what?

    15                  Q       That you said it was improper.

    16    I   You agreed that it was improper to do.

    17                  A       I don't remember saying that to

    18        them.

    19                  Q       Did you tell McNamara that as

    20        you were showing him the photographs that

    21        you shouldn't be doing this but that you

    22        were doing it anyway?

    23                  A       I don't remember saying that at

    24        all,    no.

)   25                  Q       And as you sit here now,          can



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     1                                     K.   J.   McCready             393
)
     2        you offer up any legitimate purpose for

     3        showing crime scene photographs to a

     4        civilian witness?

     5                        MR.      DUNNE:    Other than what's

     6                 he's already been asked?

     7                 A      With respect to this case?

     8                 Q      Any case.

     9                 A       I told you we use them as

    10        investigative tools.

    11                 Q         I understand that, but what I'm

    12        gathering from reading the attorney

    13        general's report is that the investigative

    14        tool or technique that you're employing is

    15        to gain -- push the witnesses further into

    16        the prosecution's corner by showing them the

    17        horror of the crime and accusing the

    18        Defendant of it?

    19                  A        No.

    20                  Q        Because

    21                  A        I didn't do that.

    22                  Q        Other than that,       other than

    23        doing it for that reason, what possible

    24        reason would you have to show graphic

)   25        photographs to civilian witnesses?



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     1                                      K.   J.   McCready                394
)
     2                  A        Didn't I answer that five times

     3        already?

     4                  Q        You said that you do it for law

     5        enforcement reasons.

     6                  A        Yes.

     7                  Q        You have not given me or us any

     8        reason.

     9                  A        Well,    it depends on the

    10        purpose.      I have no idea.

    11                  Q        Name one.       Any.

    12                  A        Okay.     Let's say there was

)   13        another person in the house with Marty that

    14        night,    right,    and they came in and they saw

    15        Arlene laying the way she was,               whatever,      I

    16        might show them that photograph and say,                    is

    17        this what you saw.           And if they say yes,

    18        it's again confirmatory-type situation.

    19                  Q        Was McNamara in the house?

    20                  A        I don't know.          I don't

    21        remember.

    22                  Q        Was Dan Hayes in the house?

    23                  A        No,    not that I      know.

    24                  Q        Were the girls that Marty was

    25        bragging to about his parents wealth in the



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         1                                    K.   J.   McCready              395

         2        house?

         3                  A       No.

         4                  Q       We'll talk just about McNamara.

         5        Forget what actually happened,            can you think

         6        of any legitimate reason why you would have

         7        done it?

         8                  A       I don't remember.        If I

         9        remembered,      I would be glad to tell you.

        10                  Q       But it is fair to say that you

        11    I   were in the process of helping the

        12        prosecution build a case against a person

)       13        that you arrested when you were showing

        14        these photographs,         correct?     You did not

        15                  A       Yes.

        16                  Q       Right.    I mean whatever the

        17        reason was it had to be to further the

        18        investigation

        19                  A       Right.

        20                  Q       -- or the prosecution?

        21                 A        Whatever.      Or to jog their

        22    I   memory about something.           I don't remember.

        23                  Q       Same thing with Diaz that you

        24        weren't just out interviewing railroad

)
    '   25        workers,      you were out trying to build a case



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     1                                     K.   J.    McCready            396

     2        against Diaz, right?

     3                  A       Yes,    yes.

     4                  Q       And the same way you kind of

     5        engage in whatever you do with respect to

     6        interrogations.          You're just not sitting

     7        around asking questions,           you're trying to

     8        build a case against a person who you think

     9        committed a crime?

    10                          MR.    DUNNE:    I object to the

    11                  form.     Go ahead.

    12                  A       Yes.

)   13                          MR. BARRET:          I dare say that in

    14                  my mind I'm done, but my mind does

    15                  not control so can we take a

    16                  five-minute break.

    17                          MR.    DUNNE:   Sure.

    18                          THE VIDEOGRAPHER:          Off the

    19                  record at 2:40 p.m.

    20                          (At this time,         a brief recess

    21                  was taken.)

    22                          THE VIDEOGRAPHER:          Beginning of

    23                  Tape 8.        Back on the record at 3:05

    24                  p.m.    You may proceed.

)   25        CONTINUED EXAMINATION BY



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        1                                    K.   J.   McCready              397

        2        MR.   BARKET:

        3                  Q       Detective,     do you know Shari

        4        Rother?

        5                  A       Shari Rother?

        6                  Q       Yeah.

        7                  A       Yeah.

        8                  Q       How did you meet her?

        9                  A       After he murdered her parents.

       10                  Q       Are you saying you did not know

       11    I   Ms.   Rother prior to the murder of Marty's

       12        parents?

       13                  A       No.

       14                  Q       And how about Ronald Rother,

       15    I   did you know him before that?

       16                  A       No.

       17                  Q       Did you eventually go into

       18    I   business with Ron Rother?

       19                  A       Yes.

       20                  Q       We talked about this briefly

       21        yesterday.

       22                  A       Yes.

       23                  Q       Was some of the money that Ron

       24        put up from that the proceeds of the Estate

._ )   25        of Tankleff?



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         1                                     K.   J.   McCready             398

         2                 A        Not that I'm aware of.

         3                  Q       Sorry.     Just one second.         Was

         4        there a Mr.     or Detective Genna that

         5        testified; do you remember?

         6                 A        Bob Genna?

         7                  Q       Yes.

         8                  A       Sure.

         9                  Q       Who is he?

        10                  A       Right now,      I think he's the

        11        head of the lab,         crime lab.

        12                  Q       Okay.     And I asked you

    )   13        yesterday whether or not you recall -- well,

        14        maybe it was this morning -- whether or not

        15        you recall that the smudges or the blood on

        16        the wall near the switch,              light switch in

        17        Marty's room was a glove-like print; do you

        18        remember that?

        19                 A        Yes.

        20                  Q       I want to refer you to the

        21        testimony of -- is it Detective Genna or Mr.

        22        Genna?

        23                          MR.    DUNNE:   No,    he's a

        24                  civilian.

)       25                 Q        So Mr.    Genna or Dr. Genna,        at



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 1                                       K.   J.   McCready            399

 2    I   pages 2460,     I'm just going to read this from

 3        line 8.

 4                          "Q.    What was the pattern you

 5                  found in that particular location?

 6                          A.    It was a chain-like

 7                  honeycomb pattern.

 8                          Q.    Did there come a point in

 9                  time, Mr. Genna,          after identifying

10                  these particular patterns on these

11                  six items to which you just

12                  referred,     that you drew any

13                  conclusion with respect to the

14                  origin of those patterns which you

15                  are able to discern this chain-like

16                  or honeycomb pattern to which you're

17                  referring?

18                          A.    Yes.

19                          Q.    Would you please tell us

20                  what your conclusions and opinions

21                  are to a reasonable degree of

22                  scientific certainty with respect to

23                  the origin of those particular

24                  chain-like or honeycomb-type

25                  patterns?



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     1                                        K.    J.   McCready           400
)
     2                        A.       Yes.        My conclusion was

     3                 that the patterns were consistent

     4                 with the type of pattern that you

     5                 commonly find on the grip areas of

     6                  the fingers or the palm area of a

     7                  glove,     either a fabric or a rubber

     8                  glove."

     9                  You can take a look at it yourself.

    10        Does that refresh your memory that the blood

    11        smear on the wall in Marty's room carne from

    12        a gloved or a glove-like print?

                        You don't remember it from 20 years
)   13

    14        ago?    You don't remember?

    15                  A        No.

    16                  Q        Point of fact,          it was not only

    17        the wall,     I think the sheets in Marty's room

    18        also had a similar pattern -- excuse me, the

    19        sheets in Marty's parents bedroom where

    20        Arlene was also had a similar pattern.

    21                  A        I'm not aware of that.             That's

    22        the first I've ever heard that.

    23                  Q        Anything to do with the

    24        glove-like prints or on the sheets as well?

    25                  A        No, not on the sheets.



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       1                                     K.    J.   McCready            401
~.)    2                  Q       Did you hear or did you become

       3        aware or ever see a knife print on the

       4        sheets?

       5                  A       No.    Now,     I'm aware at this

       6        time that some moron up in the State lab or

       7        whatever claims that there's a knife print

       8        or something on the sheet, but I don't know

       9        if that's necessarily correct.

      10                  Q       Well, when you say some moron

      11        up in the State police lab,              let's just break

      12        it down a little bit.

)     13                          In 2008,      a special prosecutor

      14    I   was appointed in this case,              right?    You know

      15        that?

      16                  A       Yes.

      17                  Q       Thomas Spota stepped aside and

      18        he allowed the attorney general's office to

      19        conduct the investigation; you remember

      20        that?

      21                  A       Yes.

      22                  Q       And the governor agreed,

      23        removed him as a prosecutor, and appointed

      24        the attorney general's office,              right?

J     25                  A       Right.



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     1                                     K.   J.   McCready             402
)
     2                  Q       And just so we're clear, Thomas

     3        Spota is the same Thomas Spota that is now

     4        the current district attorney and who was

     5        your lawyer back in 1991 or '92 when you

     6        were on trial?

     7                  A       Yes.

     8                  Q       And that the attorney general's

     9        office along with the State police conducted

    10        an investigation following their appointment

    11        as a prosecutor in this case,             right?

    12                  A       Yes.

)   13                  Q       And they took all the evidence

    14        and reviewed it and somebody from the State

    15        crime lab, State police,           looked at the

    16        sheets from Marty Tankleff's mother's room

    17        and --

    18                  A       Right.

    19                  Q       -- indicated that there was a

    20        knife pattern on those sheets; you know

    21        that,    right?

    22                  A       Well,    yes.

    23                  Q       All right.      So now,   I know you

    24        were just being flippant.              You don't know

)   25        the individual who performed that test; do



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     1                                     K.   J.   McCready             403
)
     2        you?

     3                  A       No.

     4                  Q       You don't know if that person

     5        is an expert in bloodstain patterns, what

     6        his training or her training or experience

     7        is; do you?

     8                  A       No.

     9                  Q       So when you said that person is

    10        a moron, you were just being a little

    11        flippant and a little sarcastic?

    12                  A       Yes.

)   13                  Q       It might be a highly-skilled

    14        investigator who found a knife-like print,

    15        right?

    16                          MR.    DUNNE:    I object to the

    17                  form but go ahead.

    18                 A        Excuse me.       Might be.

    19                  Q       Might be.       And,   of course,    you

    20        also know,     and I guess it would be fair to

    21        say the person might be a "moron" you just

    22        don't know who it is.

    23                 A        Might be.

    24                  Q       Might be.       And,   of course, we

)   25        do know that the knife-like print was



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..   )    1                                     K.   J.   McCready             404

          2        compared to every single knife in the

          3        Tankleff residence,         right?

          4                        MR.      DUNNE:   Again,    I object to

          5                  the form

          6                 A       I didn't know.

          7                 Q       You didn't know that?

          8                         MR.     DUNNE:    I'm going to object

          9                  to the form and the characterization

         10                  of the question.         Go ahead.

         11                  A        I didn't know.

         12                  Q      And you didn't know that part

 )       13        of their analysis was not only that they

         14        found the knife print on the sheet, but that

         15        they compared it to every knife in the house

         16        and it didn't match a single knife in the

         17        Tankleff residence?

         18                  A        I didn't know that was their

         19        opinion.

         20                  Q        Assuming that's true,          that

         21        would indicate that whoever committed this

         22        crime used that knife and then took it from

         23        the residence,         right?

         24                           MR.   DUNNE:    Again,   I'm going to

 )       25                  object to --



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         1                                     K.   J.   McCready              405

         2                  A       I don't know.

         3                          MR.    DUNNE:        that on many

         4                  grounds but go ahead and answer

         5                  that.

         6                  A       I don't know.        Well,   I don't

         7        agree with their findings so therefore I

         8        can't agree with that.

         9                  Q       It's interesting that you say

        10        you don't agree with their findings because

        11        we just got done talking about you have no

        12        idea who the person is who made these

        13        findings.
    )
        14                  A       I don't.

        15                  Q       There's no reason to suspect

        16        that the lab technician,           or the criminalist,

        17        or the blood spatter or whatever,                the expert

        18        that looked at this,         this is not somebody

        19        that Martin Tankleff hired;             is it?

        20                  A       No.

        21                  Q       This is somebody with the State

        22        police,       right?

        23                  A       Yes.

        24                  Q       And because that evidence that

)       25        they found is somewhat inconsistent with



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         1                                       K.   J.   McCready             406
)
         2        Marty's guilt,      you just dismiss it and call

         3        the person a moron?

         4                        MR.      DUNNE:      I'm going to object

         5                 to the characterization in the

         6                 question.        Go ahead and answer that

         7                 as best you can.

         8                 A      No,      no.    I ' l l tell you what,        I

         9        spoke too fast on that because I've had

        10        conversations with other experts about that

        11        particular opinion and they don't agree with

        12        that opinion;      so that's all I'm going to

        13        say.    That's all I have to say.
    )
        14                  Q      What expert have you spoken to?

        15                  A       Bob Genna.

        16                  Q       Bob.     You spoke to Bob Genna.

        17        When did you speak to Mr.                Genna,   Bob Genna?

        18                  A       Last Friday night.

        19                  Q       Last Friday night.              Today is

        20        Wednesday.      Last Friday was December 7th?

        21                  A       Yes.

        22                  Q       And you spoke to him in the

        23        context of you were talking about the Martin

        24        Tankleff case?

)       25                  A       I asked him one question.



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      1                                                                     407
)                                          K.   J.   McCready

      2                  Q       Where were you when the

      3        conversation took place?

      4                 A        At the Detective's Association

      5        Christmas party.

      6                  Q       Okay.   For Suffolk,      I take it,

      7        right?

      8                 A        Yes.

      9                  Q       And did you have a longer

     10        conversation with him?           Was it just one

     11        question about the Tankleff case?

     12                 A        The only thing I said to him,               I

_)   13        said, what's this nonsense about this blood

     14        print,   or knife, whatever on the sheet,                  and

     15        he disagreed with their findings.

     16                  Q       Did you put it to him that way,

     17        what's the deal with this nonsense?

     18                 A        Yeah.

     19                  Q       What was his reaction?           What

     20        did he say to you?

     21                 A        He doesn't agree with their

     22        opinion.

     23                  Q       Is that what he said,          I don't

     24        agree with their opinion?

)    25                 A        Yes.



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     1                                                                        408
)                                             K.   J.    McCready

     2                  Q       That's all he said?

     3                  A       Yeah.

     4                  Q       Which opinion; that there was a

     5        knife print or that the knife print didn't

     6        match any of the knives in the house?

     7                  A       I    didn't get into a lengthy

     8        discussion about it,            all right.        I   just

     9        mentioned it to him and that's what he said

    10        to me.

    11                  Q       Well,      even before you spoke to

    12        Mr. Genna,     you described it as nonsense?

    13                  A       Right.

    14                  Q       Why?

    15                  A       Because I felt like they were

    16        making things up up there.

    17                  Q       You thought that the State

    18        police were making things up?

    19                  A       Yeah.

    20                  Q       This kind of reminds me of our

    21    I   conversation yesterday where you said --

    22                          MR.     DUNNE:     Can we just ask a

    23                  question.         I object to the colloquy.

    24                          MR. BARKET:             Sure.

)   25                  Q       You recall yesterday saying



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     1                                    K.    J.   McCready             409
)
     2        that no evidence would ever change your view

     3        that Marty killed his parents?

     4                  A       That's right.

     5                  Q       So that any evidence that

     6    I   indicates he's innocent has to be nonsense?

     7                          MR.   DUNNE:     I object to the

     8                  characterization in the question.

     9                  That's not what he said.

    10                  A       That's not what I       said.

    11                          MR.   DUNNE:    Go ahead and answer

    12                  that.

    13                  Q       Would you agree with me that if

    14        the knife print was there and it was

    15        inconsistent with every knife in the house,

    16        meaning the knife that was used had to be

    17        taken out of the house,           that that would be

    18        some evidence that somebody else was

    19        involved in this besides Martin Tankleff?

    20                          MR.   DUNNE:     I ' l l object to the

    21                  form of the question.           Go ahead,

    22                  Detective.

    23                  A       No.    To me,   what that would

    24        mean,   if there was another knife involved,

)   25        that he disposed of the knife somewhere,                   not



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     1                                    K.   J.   McCready           410

     2        that somebody else took it out of the house.

     3                  Q       In the 30 minutes that he had

     4        from 5:35 to 6:11,       36 minutes, we now add in

     5        that he somehow disposed of the knife in a

     6        way that it was never found?

     7                  A       I'm not saying he disposed of

     8        the knife.

     9                          MR. DUNNE:      Jimmy,   hold on a

    10                  second.     I have to object to the

    11                  suppositions in that question but

    12                  you answered that question as he

    13                  posed it.

    14                  A       What I'm saying is that

    15        anything is possible.            I still, as I pointed

    16        out many times today,         I still don't believe

    17        that he gave us a hundred percent of the

    18        truth about this whole thing so that could

    19        be one of the things.            It would have been

    20        nice if we had found a knife outside if

    21        that,   in fact,    was a murder weapon or

    22        something.

    23                  Q       Did you even consider the

    24        possibility?        I mean just kind of

)   25        objectively just step back a second.



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      1                                     K.    J.    McCready          411
 )
      2                          MR. DUNNE:       Again,     I'm going to

      3                  object to the characterization and

      4                  the colloquy.

      5                          MR. BARKET:           Let me finish my

      6                  question and you can object to it.

      7                  Q       Did you even consider the

      8        possibility?        I mean you're a human,            Rein is

      9        human,    everybody makes mistakes, that you

     10        just made a mistake here?                Do you consider

     11        that possible?

     12                  A       I didn't do

*)   13                          MR. DUNNE:        I need to put my

     14                  objection to the form of the

     15                  question on record.             Go ahead.

     16                  A       I didn't make any mistakes.

     17                  Q       I didn't ask you if you did or

     18        didn't.        I got the fact that you don't think

     19        you did.        What I'm asking you is, did you

     20        even consider that maybe you got this wrong?

     21                  A       Consider what?

     22                  Q       That Marty is innocent.

     23                  A       No, he's not innocent.

     24                  Q       It never,       in your wildest

     25        dreams,       creeping conscious anywhere,            thought



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     1                                     K.   J.   McCready             412

     2        Jeeze,   with all this other evidence,             all

     3        these other things,         that maybe,      you know,      we

     4        made a mistake here?

     5                          MR.    DUNNE:    I ' l l object to the

     6                  form of the question.            Go ahead,

     7                  Detective,      and answer that.

     8                  A       Absolutely not.         He's as guilty

     9        today as he was then.

    10                  Q       Or as not guilty today as he

    11        was then depending on our view,              right?

    12                          MR.    DUNNE:   Counsel,    you know

)   13                  the parameters.         You know better.

    14                  Q       Am I    right about that?

    15        Whatever happened back then happened?

    16                  A       He did it.

    17                  Q       You weren't there;        I wasn't

    18        there.

    19                  A       But he did it.         You know,    when

    20        I get up in the morning I              shave my face.

    21        When I   look at the guy in the mirror on that

    22        side,    I like that guy.         I don't know if he

    23        could do the same thing.

    24                  Q       Well,    you know,     I guess we can

)   25        ask him when it's his turn,              right?



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      1                                     K.    J.   McCready              413

      2                          MR. DUNNE:        I've concluded that

      3                  examination.

      4                  Q       You're comfortable with the

      5        work you did here?

      6                  A       Yes.

      7                  Q       You think you put a guilty

      8        person in prison?

      9                  A       Yes.

     10                  Q       And that,       if anything   --    Did

     11        you make any mistakes in this investigation?

     12                  A       I don't know.         I don't know.          I

     13        don't know.
_)                               Not that I can think of right

     14        now.

     15                  Q       Did you ever -- You gave some

     16        interviews to a number of media outlets.

     17        Did you tell Erin Moriarty that you were

     18        better than a polygraph at detecting when

     19        people lie?

     20                  A       No,    I told her -- I said I

     21        would like to think that I was better than a

     22        polygraph.

     23                  Q       Kind of the same thing,            right?

     24                          MR. DUNNE:       Well, Counsel,        come

)    25                  on.   That's the answer.



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      1                                     K.   J.   McCready              414

      2                  Q       Why would you like to think

      3        that you're better than a polygraph at

      4        determining whether individuals are lying?

      5                  A       Because I think I am.            And a

      6        polygraph you can't use it in a criminal

      7        case.     It's not reliable.

      8                  Q       Is that why you didn't give

      9        Marty one?

     10                  A       No.

     11                  Q       When Steuerman fled to

     12        California, did you go out --

_)   13                  A       Yes.

     14                  Q       -- to bring him back.            Why did

     15    I   you go out there?

     16                  A       Out to Steuerman?

     17                  Q       Yeah, why did you go get him?

     18                  A       Because he faked his own death

     19        and all that stuff.

     20                  Q       So what?

     21                  A       And he's a witness in this

     22        case.

     23                  Q       So who else went with you?

     24    I             A       Detective Sergeant Doyle and Ed
     25        Jabloski,     assistant district attorney.



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          1                                     K.    J.   McCready            415
    ')
          2                  Q       How long were you in California

          3        for?

          4                  A       I don't remember.          I'm thinking

          5        three,    four to five days.

          6                  Q       And the purpose was to bring

          7        Mr. Steuerman back?

          8                  A       Yes.

          9                  Q       I mean this wasn't about the

         10        time of the trial,         this was much closer to

         11        the time of the murders,            right?

         12                  A       Yes,    it was right after the

         13        murder.
.)
         14                  Q       In fact,       Mr. Tankleff was still

         15        in a coma in the hospital alive,               right?

         16                  A       Yes,    yes.

         17                  Q       I don't suppose you said to Mr.

         18        Steuerman when you saw him that Seymour was

         19        pumped full of adrenalin,               came out of his

         20        coma,    and said that Steuerman attacked him;

         21        did you?

         22                  A       Did I say that?

         23                          MR.    DUNNE:     I object to the

         24                  form of the question.

)        25                  A       No,    I didn't say that.



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     1                                       K.   J.   McCready            416
)
     2                  Q       I   guess that I've heard you

     3        comment that Steuerman wasn't a suspect,                    was

     4        never a suspect,         and that he just made your

     5        case more difficult by fleeing;               is that

     6        right?

     7                  A       Yes.

     8                  Q       So the information that has

     9        come to light about Steuerman since the

    10        murders does not cause you to question

    11        whether or not he was a suspect or perhaps

    12        actually involved,           it simply makes the

)   13        prosecution or made the prosecution of Marty

    14    I   more difficult for you?

    15                          MR.    DUNNE:     I ' l l object to the

    16                  form of the question.             Go ahead and

    17                  answer that.

    18                  A       No,    I   don't think it made it

    19        that more difficult for us.                I think it just

    20        brought a lot of grief and aggravation onto

    21        Steuerman himself because he did pull that

    22        act.

    23                  Q       Okay.

    24                          (Continued on next page to

)   25                  include jurat.)



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     1                                    K.   J.    McCready             417
)
     2                          MR. BARKET:         Thank you.    I

     3                  appreciate your time.

     4                          THE WITNESS:         You're quite

     5                  welcome.

     6                          THE VIDEOGRAPHER:         It's 3:24.
     7                  This concludes the day's deposition.

     8                  We're off record at 3:24 p.m.

     9                          (Time noted:         3:24p.m.)

    10

    11

    12

    13
)                                         K. JAMES McCREADY

    14

    15             Subscribed and sworn to before me

    16             this ___ day of __________ , 2013.

    17

    18

    19

    20             NOTARY PUBLIC

    21

    22

    23

    24

J   25



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              1                                                                   419
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              3        Suffolk
                       Deposition Date:   December 12, 2012
              4        Witness:   K. James McCready

              5
                                               CORRECTIONS
              6
                       PG     LN     NOW READS     SHOULD READ      REASON FOR
              7

              8

              9

             10

             11

             12

             13
)
             14

             15

             16

             17

             18

             19

             20

             21
                                                   Signature
             22

             23
                       Subscribed and sworn to before me
             24        this ______ day of _________ , 2013.

         -   25
-- ../
                                   (NOTARY PUBLIC)


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     1                                                                    420
)
     2                                    CERTIFICATION
     3                  I,   DOLLY FEVOLA, a Notary Public in

     4        and for the State of New York, do hereby certify:

     5                  THAT the witness whose testimony is herein

     6        before set forth,       was duly sworn by me; and

     7                  THAT the within transcript is a true record
     8        of the testimony given by said witness.

     9                  I further certify that I am not related,

    10        either by blood or marriage, to any of the parties
    11        to this action; and

    12                  THAT I am in no way interested in

    13        the outcome of this matter.

    14                  IN WITNESS WHEREOF,        I have hereunto

    15        set my hand this 30th day of January,                2013.

    16

    17

    18
                                   --~§~~--------------
    19                                      DOLLY FEVOLA

    20

    21

    22

    23

    24

)   25



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